 

Case. 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page1lof6é4 PagelD 6

 

 

The State of Tennessee, Madison County

 

 

 

 

 

 

 

 

 

 

Circuit Court
To Shan J ow e\)
SUMMONS IN A CIVILACTION
wo. U2 W4-$5 WIL
VS. Plaintiff “—
Sweiec Makual vas Manca 5 fe Main Streawa Deive Ske (al
Ce raga awd Jolun Pie “Nashville, TN 32228

 

 

 

 

“Jason Cerredd , Esy:
Berwer, Krause, Broaks ¢ Chastain PLES
Defendant(s) Address

 

 

 

To the above named defendant (s):
You are hereby summoned and required to answer, in writing, the complaint which is herewith
served upon you, atid to serve a copy of same upon Drayton Beckley

, who is plaintiff’s Attorney, whose address is [2s¢ byank selaba Sk DIL
Memads TW 3814 , within thirty (30) days after service of this summons upon you, exclusive

of the date of service. If you fail to do so, a judgment by default will be taken against you for the relief —
demanded in the complaint.

Issued this \ day of AA ANI a , LY _

 

 
 
 
  

   
  
  
        

 

A .
iF YOU AA DISABILITY AND Gail Mooney, Clerk
REQUIRE ASSISTANCE PLEASE CALL By.
1-731-988-3078 np

 

 

RETURN ON SERVICE OF SUMMONS
[hereby certify and return, that on the day of

: , L served
this summons together with a copy of the complaint herein as follows:

 

 

 

 

 

 

 

Sheriff

 

 

Deputy Sheriff

i
I

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 2of64 PagelD 7

IN THE CIRCUIT COURT OF MADISION COUNTY TENNESSEE oe
FOR THE TWENTY-SIXTH JUDICIAL DISTRICT AT JACKSON

 

 

 

JOSHUA VOWELL, MAR 3 4 2923
GAIL Mocy, . .
Plaintiff, mT OR ChE

  

. casewo CANSG

SHELTER MUTUAL INSURANCE OWT
COMPANY and JOHN PRICE

Defendants,

MPLAINT FOR RE AND BREA F CONT

Comes now, Joshua Vowell (‘Plaintiff’), by and through counsel, and respectfully
requests this Honorable Court to order the Defendants to comply with the mandatory
appraisal process and appoint a competent and impartial Umpire as required in the
Homeowners policy language; and does further show the court as follows:

I. PARTIES AND VENUE

1. This Honorable court is authorized by mutual consent of the parties to select a
competent and impartial umpire and order Defendant's to identify their appraiser pursuant
to the policy language and pursuant to Tennessee Common and Statutory law.

2. Joshua Vowell, “Plaintiff” is the named insured and owner of the insured premises
and dwelling located at 1562 Westover Road in Jackson, Tennessee 38301.
3. Shelter Mutual Insurance Company “Defendant” (NAIC Code # 23388), is a foreign

corporation conducting the business of insurance in Tennessee with its principal offices
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 3o0f64 PagelD8

located at 1817 W Broadway Columbia, MO 65218; who in exchange for Plaintiffs

monthly premiums, subject to the policy terms, conditions, exclusions and endorsements,
insured the premises under Policy No. 41-XX-XXXXXXX-8; and may be served through the

Tennessee Insurance Commissioner. Defendant is responsible for the actions of John
Price via operation of the doctrines of respondent superior, actual or apparent agency,
employer-employee, or master —servant.

4. John Price is believed to be an adult resident citizen of Tennessee whose business
address is 990 Elliston Way Thompsons Station, TN 37179, and Price may be served
with process by any means authorized by Rule of the Tennessee Rules of Civil Procedure.

ll. FACTS

5. Defendants issued ’ Policy No. 41-XX-XXXXXXX-8 to Plaintiff providing coverage for
damages resulting from a carrier labeled CAT Wind occurrence, that was in effect on, or
about, the stated date of loss of March 31, 2022, and assigned Claim No.
HO0000003185676; for which Defendants extended coverage and made certain
payments. See pertinent “policy” documents attached herewith in Collective Exhibits °1”.
6. Ina letter dated April 13, 2022, Defendants sent a estimate written by John Price
stating $ 4,032.30, an amount of ioss materially different than Plaintiffs estimate of over
$ 192,000.00, with Price’s estimate only considering a damaged fence even though this
was a CAT labeled windstorm and there were missing shingles visible from the driveway.

See Exhibit “2” and “3”.

 

+ For purposes of judicial economy, only the Policy Declarations Page, Appraisal provision, and Appraisal
Demand are attached as Collective Exhibits "1", to preclude the necessity for the Judge to "rifle through" a
voluminous policy to locate the limited provisions relevant to these proceedings.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 4of64 PagelD 9

7. In late December of 2022, John Price met with Plaintiffs Public Adjuster at the insured
property and was shown and observed all the damages that are listed in Plaintiffs
estimate; and Price stated he would get Mr. Griffin a supplemental estimate to him and
agreed to allow the Plaintiff to submit his proof of loss after receiving the same.

8. Receiving no response from Price for some time afterward, the Plaintiff submitted a
proof of loss on January 17, 2023, along with his written demand for appraisal, pursuant
to the policy provision that provides as follows. (See Coll. Exhibits “1” and Exhibit “4”).
Appraisal

If you and we fail to agree on the market value, total restoration cost, modified cash value,
or amount of loss, as may be required in the applicable policy provision, either party may
make written demand for an appraisal. Each party will select an appraiser and notify the
other of the appraiser's identity within 20 days after the demand is received. The
appraisers will select a competent and impartial umpire. If the appraisers are unable to
agree upon an umpire within 15 days, you or we can ask a judge of a court of record in
the state where the residence premises is located to select an umpire. The appraisers
shall then appraise the loss, stating separately the market value, total restoration cost,
modified cash value, or amount of loss as may be required in the applicable policy
provision. If the appraisers submit a written report of an agreement of the market value,
total restoration cost, modified cash value, or amount of loss, as may be required in the
applicable policy provision. If they cannot agree. they will submit their differences to the
umpire. A written award by two will determine the market value, total restoration cost,
modified cash value, or amount of loss. Each party will pay the appraiser it chooses, and
equally pay expenses for the umpire and all other expenses of the appraisal. See
Collective Exhibits “1”.

9. Instead of naming an appraiser as mandated by the policy, adjuster Price sent a
letter to Plaintiff and his Public Adjuster on February 7, 2023, conveniently on the
twentieth day from the January 17, 2023, demand letter, stating that the proof of loss was
“being returned because we need an unaltered document. Enclosed are additional forms’,
if needed’, knowing that the Proof of Loss had not been altered at all, and that Plaintiff

had simply added a reservation of his rights statement at the bottom of the form upon
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page5of64 PagelD 10

advice from counsel. There was no legal reason to require another proof of loss, as it was
only presented to stall the appraisal and frustrate the insured and is evidence of the
pattern of claims handling tactics used by Defendants in other claims and litigation in this
area. See Exhibit “S”

10. In the same letter, Price further states that, “we are denying your request for
appraisal, as we have not had the opportunity to investigate the additional claims outlined
in the proof of loss and the estimate you provided”, knowing that he had previously
inspected and photographed the entire loss twice, had reviewed the estimate for over two
months, and that no additional claims related to the property were made, nor were there
any prerequisites in the policy exempting his mandatory compliance with the Plaintiffs
appraisal demand; and that his actions rendered the appraisal process illusory and of litile
benefit to Plaintiff, and violated Plaintiffs’ rights under the policy. See Exhibit “5”

11. In the letters in Exhibit “5” and in Exhibit “6”, Defendants and their attorneys
misrepresented coverage terms and benefits to an insured and insurance professional /
practitioner related to a claim when he required Plaintiff to,; and their actions recklessly
disregarded and withheld materia! facts that violated Plaintiffs rights under the policy
causing the delay and denial of benefits owed under the policy (Collective Exhibits *2”,
*3","5", and “6”) .

12. Plaintiff received a letter from Defendants attorneys requiring that he submit to an
Examination Under Oath and requesting that he provide contracts with his Public Adjuster
and a litany of documents that the Defendants have long held in their possession, which
is an identifiable pattern of claims and litigation handling practices to wrongfully delay and

deny
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 6 of 64 PagelD 11

13. Both parties are entitied to an expeditious appraisal, pursuant to the policy language,
with two competent and impartial appraisers and a competent and impartial umpire, as
these three are essential to an effective and fair process to determine the correct amount
of loss to the property. See Collective Exhibits “1”.
Ili. COMPEL APPRAISAL AND APPOINT UMPIRE
UMPIRE QUALIFICATIONS

14. Although the policy does not outline the criteria to be used in the umpire selection
process, “Generally accepted insurance principles dictate only that 'an umpire selected
to arbitrate a loss should be disinterested, unprejudiced, honest, and competent..... "
Brothers v. Generali Us. Branch, No. CIV.A.1:97-CV-798-MHS, 1997 WL 578681, at *3
(N.D. Ga. July 11, 1997) (quoting 6 Appleman, Insurance Law and Practice § 3928, at
554 (1972».The umpire "should be impartial, honest, and competent, and should not live
an unreasonable distance from the scene of the loss." Corpus Juris Secundum, Insurance
§ 1897 (2011) See, e.g. 6 Appleman, Insurance Law and Practice §3928, at 554 (1972);
Corpus Juris Secundum, Insurance §1897

15. Plaintiff proposes the well-qualified individuals below who have no business or

personal relationships with either party, and meet the criteria described herein.

a) Scott Heidelberg: TN Certified PLAN Ump/Appr- CV

b) Andy Fraraccio: Intrust Claims — CV attached

c) Zach Baker: TN - The David Group - Certified Umpire — CV

d) Mary Jo O'Neal: TN/IA.- Certified Appraiser / Umpire-CV

e) Joe Harmon: TN — Restoration General Contractor Certified Umpire - CV
f) David Hilsdon: Lic. Engineer, P.E. TN — CV See Collective Exhibits “7”
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 7 of 64 PagelD 12

16. This Honorable Court is authorized by the consent of the parties’, and as outlined in
the policy appraisal provision, to choose an impartial umpire and/or a competent
appraiser, if necessary, upon the request of either party, to select an umpire and compel
the appraisal process to proceed.
COUNT ill. BREACH OF CONTRACT
17. The Plaintiff incorporates the foregoing allegations as if fully set forth herein.
18. Defendants materially breached the insurance agreement by refusing to comply with
the mandatory appraisal provision they wrote into the contract of adhesion.
19. Defendants materially breached the insurance agreement by failing to pay the
insureds claim within sixty days after receiving the insureds proof of loss.
COUNT IV. PUNITIVE DAMAGES
20. The Plaintiff incorporates the foregoing allegations as if fully set forth herein.
21. Defendants conduct was reckless, and in light of the foregoing allegations, entitles
Plaintiff to an award of punitive damages
COUNT V. UNLAWFUL INSURANCE ACT(S)
Tenn. Code Ann. §56-53-103
22. All unlawful insurance acts were undertaken and completed by Defendants officers,
agents, servants, employees, and/or legal representatives. All such acts were either done
with the full authorization or ratification of Defendants and were completed in their normal
and routine course and scope of employment, and Plaintiff incorporates the foregoing
allegations as if fully set forth herein.
23. Defendants adjuster John Price, who on information and belief, is a resident of the

State of Tennessee, and whose business address is 990 Elliston Way
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 8 of 64 PagelD 13

Thompsons Station, Tennessee 37179, specifically misrepresented coverage terms and
benefits to the insured and an insurance professional / practitioner relating to the pending
claim and appraisal in a letter dated February 7, 2023 stating that the proof of loss was
“being returned because we need an unaltered document. Enclosed are additional forms”,
if needed’, knowing that the Proof of Loss had not been altered at all, but that Plaintiff
had simply added a reservation of rights statement at the bottom of the form upon advice
from counsel; and there was no legal reason to require another proof of loss or delay the
appraisal, evidencing Defendants pattern of intentional delay tactics deployed in other
claims and Price knew his statement did not preempt the Defendants mandatory
compliance with the appraisal demand, that he in possession of all information needed to
pay the claim, and knew his actions violated the Unlawful Insurance Act found at Tenn.
Code Ann. §56-53-103(a)(1}, and Plaintiffs rights under the policy by the delay and denial
of benefits. A copy of the letter is incorporated herein by reference and attached herewith
as Exhibit “5”.

24. Inthe same letter Price misrepresented coverage terms and benefits to an insured
and insurance professional / practitioner related to a claim payment by stating, in the
same letter by stating, “we are denying your request for appraisal, as we have not had
the opportunity to investigate the additional claims outlined in the proof of loss and the
estimate you provided”, knowing that he had already inspected and photographed the
entire loss, had reviewed the estimate for almost a month, and that no additional claims
were made by Plaintiffs, nor were there any prerequisites in the policy exempting his
mandatory compliance with the Plaintiffs appraisal demand, and that his actions rendered

the appraisal process illusory and of little benefit to Plaintiff, and Price knew when he
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page9of64 PagelD 14

made these requests that his actions violated the Unlawful Insurance Acts enumerated in
Tenn. Code Ann. §56-53-103(a){1), and violated Plaintiffs rights under the policy by
wrongfully causing the delay and denial of benefits and rights under the policy. A copy of
the letter is incorporated herein by reference and attached herewith as Exhibit “5” .

25. Defendants, and with approval of their attorneys, misrepresented coverage terms and
benefits to an insured and insurance professional / practitioner related to a claim payment
by requiring that Plaintiff submit to an EUO and provide documentation that they already
have in their possession or is irrelevant to the circumstances of the loss; with the
knowledge and belief that an EUO is not prerequisite term in the policy that would preempt
Defendants mandatory compliance with the appraisal demand, and the intentional actions
of Defendants and their attorneys violated, or attempted to violate, the Unlawful Insurance
Acts found at Tenn. Code Ann. §56-53-103(a)(1), and their actions violated the Plaintiffs
rights under the policy, causing the delay and denial of benefits owed under the policy. A
copy of the letter is incorporated herein by reference and attached as Exhibit “6”.

26. The actions of Shelter, Price, and their attorneys were, and are, part of a pattern or
practice of violations, and attempted violations, of the Unlawful Insurance Acts in Tenn.
Code Ann. §56-53-103(a)(1); and all have committed, participated in, aided, abetted, and
conspired to commit, the unlawful acts with an intended to induce reliance subject to
Tenn. Code Ann. §56-53-107 that authorizes and entitles the Plaintiff to treble damages.
WHEREFORE PREMISES CONSIDERED, Plaintiff requests the court order Defendants
to comply with the mandatory appraisal provision, identify a competent and impartial
appraiser, appoint a competent and impartial Umpire for proceedings consistent with the

appraisal provision; and order the appraisers to submit their differences to the Umpire
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 10 of 64 PagelD 15

within 20 days from the date of this order, and that the Umpire render a decision within
20 days from the date of the appraisers submitting their positions in order to timely resolve
the amount of loss to Plaintiffs premises; and that the court grant pre-judgment interest,
post-judgment interest, compensatory damages, attorney fees, treble damages, and
other damages and expenses as authorized by Tenn. Code Ann. §56-53-107 of no jess

than THREE MILLION DOLLARS AND punitive damages of no less than FIVE MILLION

 

 

DOLLARS.
o Resp Submitted,
/ Loy fo
( \v £ Levi
/ Drayton Berkley, #02261
. Counsel for Plaintiff

The Berkley Law Firm, PLLC
1255 Lynnfield Road Ste 226
Memphis, TN 38119,

Phone. 901-322-8706
attorneyberkiey@gmail.com

Certificate of Service

| hereby certify that a true and correct copy of the foregoing has been sent via U.S. Mail
and Electronic Email to the following parties:

Jason Ferrell, Esq.

Brewer, Krause, Brooks & Chastain, PLLC
545 MainStream Drive Suite 101

P: 615-630-7725 Fax: 615-256-8985
Nashville, TN 37228

Attorney for Defendants

  

%

This 31 day of March, 2023. / | Y / ,
/ Zz OG E- foo

oi

“
__# Drayton D. Berkley, Esq.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 11lof64 PagelD 16

 

 

DECLARATIONS PAGES

APPRAISAL PROVISION
LOSS PAYMENT PROVISION
APPRAISAL DEMAND
 
  

__Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 12 of 64 PagelD 17

gems ( Shelter Mutual Insurance Company eee: —
Seneed | 1817 W Broadway
eee | Columbia, MO 65218

_, 1-800-SHELTER (743-5837)

Homeowners Insurance Policy Declarations

Named Insured: :
Policy Number: 41-XX-XXXXXXX-8
eo we VOWELL Effective Date: 04-17-2022 (12:01 AM CST)
2 WESTOVER RD Expiration Date: 04-17-2023 (12:01 AM CST)

JACKSON TN 38301-9640

Agent: WILLARD BESHIRES
41-0A193-60
1463 SOUTH HIGHLAND
SUITE C
JACKSON TN 38301
731-427-8707

These Declarations are part of your policy and replace all prior Declarations.

 

 

 

 

 

 

Primary Location Description
1562 WESTOVER RD NEAR JACKSON TN 38301 1 Family Brick Veneer Dwelling
Coverages , , Limits Deductible Endorsement Premium
Number
A. Dwelling $110,300 $1,000* $903.43
B. Other Structures $11,030 $1,000*
C. Personal Property $77,216 $1,000* $117.62
D. Additional Living Expense 24 Months $19.44
E. Personal Liab (BI & PD) Each Occurrence $160,006 $27.30
F, Medical Payments To Others Per Person $1,000
Renovation Cost Endorsement B-639.9-B
Expanded Renovation Cost Coverage B-813.4-B 362.00
* We will take only one deductible when multiple coverages apply to losses caused by one accident,
Total for Term (This is Not a Bill): $1,129.79
Total for Adjusted Term (This is Not a Bill): $1,129.79

Discounts:

The following discounts have been applied to this policy and are reflected in the above premiums, resulting in a premium savings of
$428.14 Protective Device Credit; Companion Policy

 

 

 

 

 

 

Policy forms and additional endorsements attached to this policy Number
Homeowners Insurance Policy (Special Coverage Form 3) - Tennessee HO3 TN1
Mutual Policy Notification 5-18-58
Amendatory Endorsement - Additional Coverage C Perils B-246-B
Exclusion-Electronic Smoking Device B-311.10-B
Amendatory Endorsement - Short Term Rentals B-372-B
Exclusion-Cannabis B-310.18-B

Page 1

O69rs TOEOd0
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 13 of 64 PagelD 18

ke

 

Mae Dut eine iin (ost teens

Claim payments may result in a premium surcharge. A premium surcharge is a temporary increase of premium usually lasting 3 years. The
surcharge amount is dependent on many factors, so we recommend contacting your ageni for details about your specific situation.

 

Included with this Declarations are the endorsements that were added or changed since your prior Declarations.

 

Your Annual Privacy Notice, which contains information about how Shelter uses and protects your information, is available at
https://www,shelterinsurance.com/legal/policyholderprivacynotices.

If you would like a paper copy of the Annual Privacy Notice please call 1-800-SHELTER and one will be mailed to you within 10 days. Shelter
has not changed the Annual Privacy Notice or its privacy practices since your last receipt of the Annual Privacy Notice.

M-1438,2-M

 

You now have the opportunity to reduce or stop receiving U.S. mail from Shelter. If you would like to learn more about this, simply visit
ShelterInsurance.com. If you need help, please call 1-800-SHELTER (743-5837).

B-864.1-B

 

INFLATION PROTECTION

In accordance with the Inflation Protection Provision on your policy, the basic coverage limits for your property will increase 10.0% with your
renewal payment. See your Declarations for the new limits.

B-711.3-B

 

Notice to Policyholder - Home-Sharing Update

With this renewal, a new Amendatory Endorsement has been added to your policy to address short-term rentals/home-sharing exposures. This
endorsement allows coverage while your home is being rented and will not reduce your current coverage. Please read through your new
endorsement and contact your Shelter Agent with any questions or concerns.

B-375-B

 

NOTICE
One item used in determining your premium is the underwriting tier to which your policy is assigned, This assignment is based on an
evaluation of a number of risk factors. You can request that your underwriting tier be reevaluated. If you would like for your underwriting tier

to be reevaluated, please contact your agent.

B-694-B

 

069PS1020581
1: ENS ta sn POE Aa seocument 1-2

 

Liability (Bodily Injury & Property Damage) Hach Occurrence”, for
each accident irrespective of the number of insureds, persons
injured, or claims made.

EXCLUSIONS
We do not cover:

1,

Bamages arising out of the ownership, maintenance,

operation, use, or entrustment of:

{a} Aircraft other than miniature aircraft not designed to
transport cargo or people.

(b) Land motor vehicles, other than recreational moter
vehicles:

(1) Gwned by any insured;

(2) Operated by any insured;

(3) Rented to any insured; or

(4) Loaned to any insured.

‘We do provide coverage if the land motor vehicle is kept

in dead storage on the insured premises and is not

licensed for use on public roadways.

(c}) Motorized vehictes, if the bodily injury or property
damage occurs away from the insured premises. This
exclusion does not apply ifthe motorized vehicle is:

Q) A golf cart being used for golfing on a golf course;

(2) A vehicle originally designed to assist the physically
handicapped;

43) Nota land motor vebicle being used in a part-time
job related activity by you or a relative, and the
individual engaged in that activity is a full time
student under the age of 25; or

(4) A lawn mower being used to mow other premises,
so long as such mowing is not a business.

(d) Motorized vehictes used, or designed to be used, in
competition with other vehicles.

(e) Watercraft, ifthe bodily injury or property damage
occurs away from the insured premises. This exclusion
does not apply if the watercraft is:

(1) Owned by an insured, and has:

G) No sail;

Git) No propulsion motor;

Git} One or more outboard propulsion motors with
25 combined horsepower or less; or

(iv) One or more propulsion motors of any other
design with 50 combined horsepower or less;

(2) Owned by an insured and is a sailing vessel 25 feet
or less in length with, or without, an auxiliary
propulsion motor;

(3) Rented by an insured, and:

G) Has one or more propulsion motors with 200
combined horsepower or less; or

(ii) Is 25 fect or less in length without an auxiliary
propulsion motor,

But this rental coverage is limited as stated in the

section above headed "LIMITS".

Damages arising out of the rendering, or failing to render,

professional services.

Damages arising out of business activity if that activity

caused, or contributed to cause, the damages;

Damages arising out of the condition of any premises owned,

rented, or controlled by, an insured other than the insured

premises, However, we will cover damages owed to any
residence employee and arising out of, and in the course of,

HO3 TN1

i

Filed 05/15/23 Page 14 of 64 FBugpo 19]

employment by an insured at such premises.

5. Damages arising out of bodily injury or property damage
that any insured intended to cause,

6. Damages arising out of bodily injury ot property damage

that a reasonable individual would expect to result from the

intentional acts of any insured.

Damages arising out of war.

Damages arising out of bodily injury caused by the

transmission of communicable diseases by any insured.

9, Damages owed solely because of a contract, warranty, or
agreement, made by any insured.

10, Damages arising out of property damage to premises or
personal property:

(a) Onwned by any insured;

(b} Occupied by any insured;

(c) Used by any insured;

(d) Rented to any insured; or

(e) Inthe care of any insured,

We wiil cover property damage to such premises or property
caused by fire, smoke, or explosion.

11. Damages also covered under any nuclear energy liability
policy. This exclusion applies even if the limits of liability of
that policy have been exhausted.

12. Damages arising out of bodily injury to any resident of the
insured premises, except a residence employee.

13. Damages arising out of bodily injury to a residence employee
unless written claim is made within 12 months after the end of
the policy term during which the accident occurred.

14. Damages arising out of bodily injury to any insured. This
exclusion applies, even ifthe claim is made by ancther person
seeking contribution toward, or repayment of, damages based
upon that same bodily injury.

15. Damages arising out of bedily injury to any individual on the
insured premises because of the business of any insured.

16. Damages arising out of property damage to property on the
insured premises because of the business of any insured.

17, Damages arising out of any activity of any insured that would
constitute a crime under the laws of the state in which such
activity occurred, whether or not such insured is actually
charged with a crime for that activity.

18. Damages arising out of exposure to asbestos, radon, mold,
lead, paint containing lead, chemicals, petroleum products, any
other substance or material containing lead, or any poliutant.
This exclusion applies, even if the claim is made by another
person seeking contribution toward, or repayment of, damages
based upon that same bodily injury or property damage.

19. Damages arising out of property damage caused by the
intentional or negligent misrepresentation or non-disclosure of
any material fact related to the sale, or attempted sale, of
property owned by any insured.

20. Damages arising out of the ownership, or harboring of,
animals that are not customarily kept in and around a
household as pets.

4

COVERAGE F - MEDICAL PAYMENTS TO OTHERS
INSURING AGREEMENT

Subject to the limit of our liability stated in this section, we will pay
the reasonable charges for necessary goods and services incurred
within three years after the date of a covered injury.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 15 of 64 PagelD 20

of the party to whom such payment is made to the extent of
such payment, Our interest will extend to ail securities held as
collateral for the mortgage debt. Any mortgagee or trustee so
paid agrees to sign whatever documents and take whatever
actions we may reasonably request to enforce our rights under
this provision, Our subrogation rights will not be enforced in
such a way as to impair the right of the mortgagee or trustee to
recover the full amount due under the mortgage.

If we pay the mortgagee or trustee any sum for loss under this

policy, and we contend that we had ne obligation to pay the Li.

mortgagor or owner, We may, at our option, pay the mortgagee
or trustee the entire principal sum of the loan, with interest
accrued to the date of payment and, if we do so, that person
agrees to make a full assignment and transfer of the mortgage
or trust deed and all other securities applicable to the loan to
us.

7. No Benefit to Bailee
This insurance will not, in any way, benefit any person who
may be caring for or handling property for a fee.

8. Recovered Property
If yeu recover any lost or stolen property for which we have
made a payment under this policy, you agree to notify us of
that fact within 10 days of its recovery. If you want to keep the
property yeu may do so if you return the entire amount we paid
you because of its loss. If you do not want to keep the property,
you agree tc allow us to take it, if we choose to do so. In that
event the property will become our property.

If we recover any lost or stolen property for which we have
made a payment under this policy, we agree to notify you of
that fact within 10 days of its recovery. If you want the
property you may take it if you return the entire amount we
paid you because of its loss. If you do not want the property,
you agree to allow us to keep it, if we choose to do so. In that
event the property will become eur property.
9, Payments Under This Section Of The Policy

Before we make any payments under Section I of this policy,
(a) We must receive your completed proof of loss;
(6) You must comply with all conditions of this policy; and
(c}) The amount of the loss must have been established by

either:

(1) An agreement between you and us; or

(2) A final judgment cf a court of law.
When these steps are completed, we will make any payments
due for 2 covered loss within 30 days.

10. Appraisal

If you and we fail to agree on the market value, total
restoration cost, modified cash value, or amount of loss, as
may be required in the applicable policy provision, either party
may make written demand for an appraisal. Each party will
select an appraiser and notify the other of the appraiser's
identity within 20 days after the demand is received. The
appraisers will select a competent and inipartial umpire. If the
appraisers are unable to agree upon an umpire within 15 days,
you or we can ask a judge of a court of record in the state
where the residence premises is located to select an umpire,

The appraisers shall then appraise the loss, stating separately

the market value, total restoration cost, modified cash
value, or loss to cach item, as may be required in the applicable

HO3 TN1 15

policy provision. If the appraisers submit a written report of an
agreement to us, the amount agreed upon shall be the market
vaiue, total restoration cost, modified cash value, or amount
of loss, as may be required in the applicable policy provision. If
they cannot agree, they will submit their differences to the
umpire. A written award by two will determine the market
value, total restoration cost, modified cash value, or amount
of loss. Each party will pay the appraiser it chooses, and
equally pay expenses for the umpire and all other expenses of
the appraisal.

Inflation Protection

To have the limits stated in the Declarations expanded in the
event of a major loss, you agree that we may, at our option,
adjust the Coverage A and Coverage B limits annually using
data from industry sources that report changes in the
constuction cost index caused by inflation.

At each renewal date, your billing will reflect any adjustment
in policy limits from the previous policy period.

You agree to:

(a) Accept all adjustments in limits included in your renewal
billing;

(b) Notify us within 90 days of the start of any new building
valued at $5,000 or more, or any addition to or
remodeling of buildings that increases their value by
$5,000 or more; and

(c) Pay any required premium for such changes in value.

HOW LOSSES UNDER SECTION I ARE SETTLED
(A) These provisions apply fo all losses settled under paragraphs

(B), (C), (D), and ©), below:

(1} If the total restoration cost of all covered property
damaged in one accident is less than o$1,000, we will
pay you the total restoration cost.

(2) The amount of your deductible will be deducted from all
losses covered under Section I of this policy, unless the
specific coverage under which the loss is covered says
otherwise. A single deductible applies to all covered
losses caused by any one accident.

(3) If we cannot agree with you as to the total restoration
cost, restoration cost, market value or modified cask
value, and agreement is required under this policy in
order to conclude a claim, the total restoration cost,
restoration cost, market value or modified cash vaiue,
whichever may apply to the specific claim, will be
determined in accordance with the appraisal section this
policy.

(8) This provision applies to covered losses to all personal

property:

(1) When we agree with you as to the market value of the
damaged part of those items, we will, at our option, do
one of the following:

(a) Pay the market value of the damaged part of the
covered property;

(b) Pay the restoration cost of the damaged part of the
covered property;

(c) Pay to replace the damaged part of the covered
property, in kind, or

(d) Pay the limit of coverage stated in this policy as
applicable to the item, including any special limits,
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 16 of 64 PagelD 21

January 17, 2023

Shelter Insurance

Atn. John Price

PO Box 6008

Columbia, MO 65205-6008

F. 888-742-5671/ T. 731-439-7665 E. iprice@Snaeiterinsurance.cam

DEMAND FOR APPRAISAL
CLAIM NO, HO0000003185676

Hi// TRANSMITTAL VIA EMAIL ANG FACSIMILE ////

Mr. Price,

This letter will serve as my demand for appraisal as required by my policy, and my
appraiser is a follows:

Mr. Ben Perry
Phone: (229) 560-2713
Email: benp@coastalclaims.net
Please have your appraiser contact Mr. Perry as soon as possible.
Thanks,
Josh Vowell

1562 Westover Rd
Jackson, TN 38305
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 17 of 64 PagelD 22

 

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 18 of 64 PagelD 23

Shelter insurance
PO Box 6008

Columbia, MO 65205-6008
Fax: 888-742-5671

 

04/13/2022

JOSHUA VOWELL

1562 WESTOVER RD
JACKSON TN 38301-9640

Re: insured: JOSHUA VOWELL
Claim Number: HO0000003185676
Policy Number: 41-XX-XXXXXXX-8
Date of Loss: 03/31/2022
Loss Location: 1562 Westover Rd Jackson TN 38301-9640

Dear JOSHUA VOWELL

Your Shelter insurance® policy covers this property. We are sorry it has been damaged,
but we are happy to help you with this covered loss.

We have investigated your claim and estimated the covered amount of your loss. We have
enclosed your estimate and are issuing a payment for $2,629.07 _. This initial payment is
the actual cash value of your loss fess your policy deductible. Here is how we arrived at this
payment:

Total Estimated Cost to Repair or Replace $4,032.30

Less: Paid When incurred $6.00
Less: Non-Recoverable Depreciation $403.23
Less: Your Deductible $1,000.00
Less: Amount over Limit $0.00
Initial Payment $2,629.07

You may be eligible for reimbursement of your Recoverable Depreciation amount based on
your policy. Your Policy controls when and the amount we can pay for your loss. We have
included important summary information about this and other coverages.

What to do with the Estimate

Please give this estimate, or a copy, to the repair professionals of your choice. They will
review the damage we found and the estimated cost to repair. Any questions about the
estimate, or if additional damages have been identified, need to be addressed with us
before repairs to the property begin. Repairs made to your property, or repair costs not
included in our estimate and agreed to by us, may not be covered.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 19 of 64 PagelD 24

Protect Your Property

Your policy requires you to protect your property from more damage. This includes
completing any necessary temporary repairs to keep your property from suffering additional
damage. Keep your receipts for any temporary repair and give them to your adjuster.

Paid When Incurred

Your policy covers some items only after the repair is complete and the cost incurred.
These items may or may not be identified on your estimate. Our estimate lists the amount
Shelter expects to pay for each item if, and when, it is actually incurred. You should review
the estimate and talk to Shelter about any questions retated to these charges, or items not
listed, before starting your repairs.

Depreciation

Depreciation means the amount this property's value had been reduced before the loss
because of its condition, age, extent of use, and obsolescence. If Recoverable
Depreciation is deducted from this payment, we will reimburse you the amount you actually
incurred to repair or replace that part of the property not to exceed the amount stated in
your estimate or your policy limit. If an arnount was subtracted for Non-Recoverable
Depreciation, the policy does not provide reimbursement.

Hauling Away Debris
Your policy also repays you for reasonable costs you incur to haul away debris from your
property. Please refer to your policy or call us for the restrictions for this payment

Deductible

Deductible means the amount of money deducted from the total amount of all losses
covered under this policy unless the specific coverage indicates that no deductible applies.
We will only pay for loss to covered property minus the deductible.

How to Get Paid
For debris removal, send us proof you incurred this expense and we will reimburse you.

You may email these to:  ClaimsDocuments@Shelterinsurance.com

You may mail these to: Shelter insurance
P.O. Box 6008
Columbia, Missouri
65205 6008
or fax to: 888-742-5671
Other Information

You may also desire to use or buy higher quality items than you had before. Your policy,
however, does not cover that additional cost.

If your mortgage holder is a payee on this check, please understand that your policy
obligates us to add them.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 200f64 PagelD 25

Thank you. Please call me if you have any questions. ‘

Sincerely,

Paige Horton
Catastrophe Response Adjuster
(573) 239-9534
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 21 0f64 PagelD 26

 

Shelter Insurance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PO Box 6008
Columbia, MO 65205-6008
Fax: 888-742-5671
JOSHUA VOWELL GLAIM NO.: HO0000003185676
POKSON Th aeset 9840 Policy No.: 41-XX-XXXXXXX-8
” Date of Loss: 03/31/2022 12:00 AM
Home phone: (731) 432-0130 Type of Loss: CAT Wind
Business phone: Gat No.:
Mobile phone:
Bus. Fax:
Contact:
Summary of Payments
Estimated Replacement Cost Value (RCV) $4,032.30
Less Recoverabie Depreciation (RD) $0.00
Less Non-recoverable Depreciation (NRD) $403.23
Net Actual Cash Value (ACV) $3,629.07
Applied Deductible (Insured's Responsibility) $1,000.00
Estimated Amount Payable $2,629.07
Totai Estimated Recoverabie Depreciation $0.00
Estimated Amount Available if Recoverable Depreciation fs Incurred $2,629.07
Payment Summary
ACV NoRD Payment ~ 04/13/2022 $2,629.07
Payment by Coverage Summary
ve ve foe * . “ : Replacement Ronen bl Recoverabla . ~ Applied : “ ‘Arnount 2 © Approved : Roane
- ‘Coverage . Gost Depreciation. Depreciation. | Deductible |. Payable. Payments 1 Available
HOME/DWELLING $0.00 $0.00 $0.00 $0.00 $0.00 $0.00 $0.00
HOME/OTHRSTRUC $4,032.30 $403.23 $0.00 $1,000.00 $2,629.07 $2,629.07 $0.00
HOME/PERSPROP $0.00 $0.00 $0.00 $0.00 $0.00 $0.00 $0.00
Claim HOGO00003185676 10/24/2022
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 22 of 64 PagelD 27

Shelter Insurance
PO Box 6008

Columbia, MO 65205-8008
Fax: 888-742-5671

 

 

JOSHUA VOWELL CLAIM NO.:
1562 WESTOVER RD

Policy No.:
JACKSON TN 38301-9640

Home phone: — (731) 432-0130 Type of Loss:
Business phone: Cat No.:
Mobile phone:

Bus. Fax:

Contact:

 

Date of Loss:

HO0000003185576
41-XX-XXXXXXX-8
03/31/2022 12:00 AM
CAT Wind

 

 

ACV NoRD Payment $2,629.07, 04/13/2022

Estimated Replacement Cost Value $4,032.30
Approved Invoice Amount $0.00
Previous Payments $0.00
Payment Amount $2,629.07
Comments

* These totals pertain only to the repair items invoiced.

 

Claim 400000003185676

10/24/2022

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 23 of 64 PagelD 28

Shelter Insurance
PO Box 6008

Columbia, MO 65205-6008
Fax: 888-742-5671

 

 

ESTIMATE: Structure (Shelter Insurance}

Claim #HOOOGMD03 185676, JOSHUA VOWELL

 

 

 

Bb OP ELAS

Total Materials: $2,249.10
Total Labor: $1,442.03
Total Equipment: $121.88
Subtotal: $3,823.03
Sales Tax 9.750% (applies to materials only): $219.29
Replacement Cost Value: $4,032.36
Replacement Cost on Coverage HOME/OTHRSTRUC: $4,032.30
Less Non-Recoverable Depreciation: SAGE 23)
Net Actual Cash Value on Coverage HOME/OTHRSTRUC: $3,629.07
Coverage HOME/OTHRSTRUC Deductible ($1,000.00) applied: 301 DOG.O0)
Net Actual Cash Value on Coverage HOME/OTHRSTRUC after Deductible: $2,629.07
Amount Payable on Coverage HOME/OTHRSTRUC: $2,629.07
Net Estimate: $2,629.07
Net Estimate: $2,629.07
Paige Horton

Catastrophe Response Adjuster

(573) 239-9534

Documents Email:
claimsdocuments@shelterinsurance.com

REASONABLE FEES FOR DEBRIS REMOVAL ARE PAID IF INCURRED AND COVERED BY YOUR POLICY

The depreciation column of your estimate identifies the depreciation amount applied to each line item. An "M" or "U" will appear next to the
depreciation amount to define how the depreciation was calculated. An "M" means depreciation was applied to only the materlals and sales tax needed
to repair or replace that item. "U" means the depreciation was applied te the materials, labor, safes tax, and other costs needed to repair or replace

that item.

Finalization

Ciaim HO0000003185676

10/24/2022
 

Case 1:23-cv-01088-JDB-jay Document 1-2

Filed 05/15/23 Page 24 of 64 PagelD 29

 

Estimate Lines Included in Payment

 

 

 

 

Estimate Room Item AGY Soverage
Structure Fence Tear Out - Fence, Paid HOME/OTHRSTRUG
Board Treated, 1"X6", $369.90
a
Structure Fence Replace - Fence, Pald HOMB/OTHRSTRUC
Board Treated, 1"X6", $3,081,861
e

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 25 of 64 PagelD 30

Shelter insurance
PO Box 6008

Columbia, MO 65205-6008
Fax: 888-742-5671

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Description Quantity Unit Price Per | Bap. Appl Paid RC Depreciation | ACY
ESTIMATE: Structure (Shelter insurance) Claim #HOOGIOOOS 185676, JOSHUA VOWEL
i} FLOORPLAN: Fence
4” Fence
1 Tear Out - Fence, 150.00 $2.74 Lp MATS Paid $411.00 $41.10 $369.90
Board Treated, 1"X6",
5
2 Replace - Fence, 157.50 g2i.60 LF TAT Iy — Pald $3,402.01 $340.20 $3,061.81
Board Treated, 1X6",
6

{] Includes 5% waste on quantity.
Fence - Subtotal (2 items)

Fence -~ Subtotal (2 items)

Claim HO0000003185676

$3,813.01 $381.30
$3,813.01 $381,.30

$3,431,741
$3,434.71

40/24/2022
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 26 of 64 PagelD 31

Shelter insurance
PO Box 6008

Columbia, MO 65205-6008
Fax: 888-742-5671

 

 

 

 

     

Sees ead ATE erie Fl rparet eed
Wind damage to several fence sections

Claim HO0000003185676 10/24/2022
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 27 of 64 PagelD 32

Shelter Insurance
PO Box 6068

Columbia, MO 65205-6008
Fax: 888-742-5671

 

 

Photos:

 

   

oy

Wind damage to several fence sections

Claim HO0000003185676 10/24/2022
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 28 of 64 PagelD 33

Shelter Insurance
PO Box 6008

Columbia, MO 65205-6008
Fax: 888-742-5671

 

 

Photos:

 

   

Wind darnage to several fence sections

 

Claim 400000003185676 10/24/2022
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 29 of 64 PagelD 34

 

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 30 0f 64 PagelD 35

LOSS ASSESSMENT
LOSS ASSESSMENT

Insured: Josh Vowell
Property: 1562 Westover Rd

Jackson, TN
Claim Number: Policy Number: Type of Loss:
Date of Loss: Date Received:
Date Inspected: Date Entered: 9/21/2022 11:57 AM

Price List! TNJA&X_DEC22

Restoration/Service/Remodel
Estimate: TN-1562-WESTOVER-RD1

NOTICE

This document includes only the work that will be required to repair/replace the covered damages to replacement cost condition
while abating all deteriorated, rusted, or other underlying conditions, of the areas shown in the carrier adjuster estimate, and
while abiding by all state regulations and industry standards. Charges include, but are not limited to, scheduling and supervising
all specialty trade sub-contractors, all permit processes, OSHA regulations, and required insurance coverages for this project, as
well as provide worker's compensation coverage for our employees and subcontractors that they supervise, or that otherwise
enter the job site while work is in progress. Therefore, General Contractors overhead and profit is charged on all projects, as weil
as the job related overhead general conditions that we incur as a General Contractor who follows all state requirements, The
default demolition general labor (DMO) in the "unit price" of Xactimate removal line items is not used on any specialty,
licensed, and/or hazardous trade in this estimate. This is required to appropriately represent the cost of job-personnel overhead
that is built into Xactimate's line item price. Overhead and labor adjustments have been made due to the current economic and
inflationary environment factors that contractors are working under and are subject to change as labor, equipment, and fuel
prices, etc. fluctuate. The adjusters estimate for this loss does not account for any of the above and we arrived at these numbers
by beginning where carrier initial estimate/scope ended — and per the owner's request.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 31 0f64 PagelD 36

 

LOSS ASSESSMENT
LOSS ASSESSMENT
TN-1562-WESTOVER-RD1
Main Level
Roofl
DESCRIPTION QTY UNIT PRICE TOTAL

 

Proper skilled trade (roofing) labor applied for the removal of the shingles/sheathing, The intricate care and expertise required to
replace the damaged roofing spstem on a steep roof will be completed by one skilled roofing crew. The xactimate labor rates use
the average Workers Compensation rates for each trade. For a roofing crew, tear off being paid us a demolition crew does not
factor the cost of Workers Compensation as well as General Liability. The workers compensation rates are much more expensive
than a demolitions crews workers compensation rates. The same, skilled roofing crew that will be completing the werk on this
project pay their werkers compensation as roofers, not a demolition crew. They will not have coverage for the job if contracted as
a demolition crew therefore we changed the tear off labor rate to reflect appropriately.

 

77. Tear off, haul and dispose of comp. shingles - Laminated 36.83 SQ @ 90.65 = 3,338.64
98. Add. layer of comp. shingles, remove & disp. - 3 tab 73.67 SQ@ 31.57 = 2,325.76
Removal for 2 additional layers of roof covering existing on structure.

88. Remove Roll roofing 6.32 SO @ 39.80 = 251.54
5. Remove Ridge cap - composition shingles 114.50 LF @ 1.76= 201,52
99, Remove Sheathing - spaced 1" x 6" 120.00 SF @ 1.10 = 132.00
Dry-In

8. Replace Roofing felt - 30 Ib. 20.99 5Q @ 29.80 = 625.50
82. Replace Roofing felt - 15 Ib, - double coverage/low slope 7.85 SO @ 41.64= 326.87
83. Replace Drip edge/gutter apron 150.50 LF @ 2.28 = 343.14
Per County Building Code: (2018 International Residential Code)

R905.2.8.5 Drip edge.

A drip edge shall be provided at eaves and rake edges of shingled roofs, Adjacent segments of drip edge shall be overlapped not less
than 2 inches (51 mm). Drip edges shall be mechanically fastened to the roof deck at not more than 12 inches (305 mm) o.c. with
fasteners as specified in Section R905.2.5 Underlayment shall be installed over the drip edge along the eaves and under the drip edge
along rake edges.

9. Replace Drip edge 316.31 LF@ 2.17 = 686.39

Per County Building Code: (2018 International Residential Code)

R905.2.8.5 Drip edge.

A drip edge shall be provided at eaves and rake edges of shingled roofs. Adjacent segments of drip edge shall be overlapped not less
than 2 inches (51 mm). Drip edges shall be mechanically fastened to the roof deck at not more than 12 inches (305 mm) o.c. with
fasteners as specified in Section R905.2.5 Underlayment shall be installed over the drip edge along the eaves and under the drip edge
along rake edges.

10, Replace Ice & water shield 268.20 SF @ 1.215 324,52

Per County Building Code: (2018 International Residential Code)

R905.2.8.2 Valleys.

Valley linings shall be installed in accordance with the manufacturer’s instructions before applying shingles, Valley linings of the
following types shall be permitted:

1. For open valleys (valley lining exposed) lined with metal, the valley lining shall be not less than 24 inches (610 mm) wide and
of any of the corrosion-resistant metals in Table R905.2.8.2.

2. For open valleys, valley lining of two plies of mineral-surfaced roll roofing, complying with ASTM D3909 or ASTM D6380
Class M, shall be permitted. The bottom layer shall be 18 inches (457 mm) and the top layer not less than 36 inches (914 mm) wide.
3. For closed valleys (valley covered with shingles), valley lining of one ply of smooth roll roofing complying with ASTM D6380
and not less than 36 inches wide (914 mm} or valley lining as described in item 1 or 2 shall be permitted. Self-adhering
polymer-modified bitumen underlayment complying with ASTM D1970 shall be permitted in lieu of the lining material.

Install

100. Replace Sheathing - spaced 1” x 6" 132,00 SF @ 4.85 = 640.20
Allowance to replace existing damaged roof sheathing
TN-1562-WESTOVER-RD1 1/16/2023 Page: 2

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 32 of 64 PagelD 37

 

 

LOSS ASSESSMENT
LOSS ASSESSMENT
CONTINUED - Roofi

DESCRIPTION QTY UNIT PRICE TOTAL
11. Replace Sheathing - plywood - 1/2" CDK 4,051.73 SF @ 2.19 = 8,873.29
80. Remove AC plywood - 1/4" 3,683.39 SF@ 0.37 = 1,362.85
there is 2 layers of decking on this home that has to come off.
12, Replace AC plywood - 1/4" 4,051.73 SF @ 2.88 = 11,668,938
there is 2 layers of decking on this home that has to come off.
13, Replace Asphalt starter - universal starter course 466.81 LF @ 1.43 = 667.54

The starter course is different in material and labor cost than a full length 3 tab shingle and cannot be included in the waste factor, 3
tab shingles can not be used as a starter course.

14. Replace Laminated - comp. shingle rfg, - w/ felt 40.67 SQ @ 227,67 = 9,259.34
Allowance for 15% Waste
15. Replace Ridge cap - Standard profile - composition shingles 114.50 LF @ 433 = 495.79

The quality of the ridge has been changed to match the quality of shingles being installed on the roof. Ridge Cap - Composition
shingles assumes standard 25 yr 3-Tab shingle is being used and cut to form a ridge cap.

16. R&R Exhaust cap - through roof - 6" to 8" 1,00 EA@ 86.44 = 86.44
17. R&R Flashing - pipe jack 6.00 EA @ 42.15 = 252.90
18. Replace Step flashing 168.50 LF @ V7= 1,208.15
19. Digital satellite system - Detach & reset 1.00 FA @ 35.09 = 35.09
20. Digital satellite system - alignment and calibration only 100 EA @ 105.26 = 105.26
Additional Labor Hours.

21. Roofer - per hour 24,00 HR @ 81.01 = 1,944,24

Additional Labor Allowance for cleaning all torn debris up and placing debris on tarp to take to dumpster. Difficult access
around the property and soft soil will limit the dumpster to the front elevation only.

 

22. Replace Siding Installer - per hour 16.00 HR @ 75.51 = 1,208.16
Allowance to manipulate vinyl siding to replace flashing,

Low Slope

90. Replace Modified bitumen roof - self-adhering 7.27 80@ 389,64 = 2,832.68

Unit price adjusted due to local market conditions.

https://www.homedepot.com/s/GAF%20modified%20bitumen%20base%20sheet?NCNI-5

92, Replace 2" x 4" lumber - treated (.667 BF per LF) 90.20 LF @ 2.73 = 246.25
nailer board required for increased roof height from installation of Poly-Iso

93. Replace Insulation - ISO board, 2" 13,90 SO@ 214.26 = 2,978.21
Required to meet Residential IECC requirements for this region.

94. Replace Glass mat gypsum - 1/4" ~ primed 6.95 30 @ 142.16 = 988.01
106. Remove Sheathing - plywood - 1/2" CDX 33.00 SF@ 0,56 = 18.48
107. Replace Sheathing - plywood - 1/2" CDX 36.30 SF @ 2.19 = 79.50
108. Replace Carpenter - General Framer - per hour 4,00 HR @ 62.98 = 251,92
Labor to replace damaged framing members

109. R&R 2" x 6" lumber - treated (1 BF per LF) 20.00 LF @ 3,58 = 71.60

 

TN-1562-WESTOVER-RDi 1/16/2023 Page: 3
Case 1:23-cv-01088-JDB-jay Document 1-2

Filed 05/15/23 Page 33 of 64 PagelD 38

 

 

 

 

 

 

 

LOSS ASSESSMENT

LOSS ASSESSMENT
Attic
DESCRIPTION QTY UNIT PRICE TOTAL
104. R&R Vapor barrier - visqueen - 6mil 3,683.39 SF @ 0.34 = 1,252.35
Protection for attic space interior.
101. Additional charge for underlayment in confined spaces 3,683.39 SF @ 0.49 = 1,804.86
Gutters and Downspouts
DESCRIPTION QTY UNIT PRICE TOTAL
23. R&R Gutter / downspout - aluminum - up to 5" 315.00 LF @ 911= 2,869.65
24, Clean gutter/downspout 315.00 LF @ 0.62 = 195,30
Exterior
DESCRIPTION QTY UNIT PRICE TOTAL
25. R&R Siding - vinyl 525.00 SF @ §.35 = 2,808.75
26. R&R Soffit - vinyl 325.00 SF @ 5.55 = 1,803.75
27, R&R Custom bent aluminum (PER LF) 635.00 LF @ 19.58 = 12,433.30
28. R&R Awning - Window/door - Aluminum or steel 18.00 LF @ 173.94 = 3,166.92

Materials adjusted per local market conditions. See links below.

https://www.generalawnings.com/window-awnings-c-8 l/ac] 000-pan-type-window-awning-p-3527gclid=CjwK CAiA heacBhB8EiwAl
tVO2Z5R96GVP2INGEEXGfyi82ZA LY Ks X3CBGiqhhBItUlOghHSF Auvpe6PBoCs5 wQAvD_BwE

 

29, R&R Window screen, 1 - 9 SF 8.00 EA @ 43,37 = 346,96
30. R&R Screen door - metal - 306" - 36" - full screen (no glass) 1.00 EA @ 177 45 = 177,45
31, R&R Exterior door - wood - slab only 1,00 EA @ $36.75 = 536.75
96. Replace Two coat stucco over masonry 806.00 SF @ 3,93 = 3,144.00
33. Replace Stucco - General Laborer - per hour 6.00 HR @ 37.83 = 226.98
Additional labor to setup and take down scaffold for stucco scope of work.
34. Clean stucco 800.00 SF @ 0.65 = 520.00
35, Seal & paint stucco 800.00 SF @ 1.53 = 1,224.00
84. Remove Television antenna 1.00 EA @ 27.41 = 27.41
85. Install Television antenna 1.00 EA @ 68.60 = 68.60
86. Special Systems - Electrician ~ per hour 20.00 HR @ 86.29 = 1,725.80
Additional labor required to remove and re install/ replace low voltage systems on elevations of the home.
87, R&R Clothes dryer vent cover 1.00 EA @ 37.07 = 37.07
Fencing

TN-1562-WESTOVER-RD1 1/16/2023

Page: 4
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 34 of 64 PagelD 39

 

 

LOSS ASSESSMENT

LOSS ASSESSMENT
DESCRIPTION QTY UNIT PRICE TOTAL
36. R&R Wood fence 5'- 8' high - cedar or equal 302.00 LF@ 42.07 = 12,705.14

Materials adjusted per local market conditions. See links below.

https:/Awww.homedepot.com/s/2x4x8%20pressure%20treated?7NCNI-5

https://www.homedepot.com/p/Deckmate-1-5-8-in-Tan-Exterior-Self-Starting-Star-Flat-Head-Wood-Deck-Screw-8-25-Ibs-3-67 5-pcs-

158DMT25BK/305418744

https://www.homedepot.com/p/Quikrete-80-Ib-Concrete-Mix-110180/100318511

https://www.homedepot.com/s/4%20x%204%20x%201 OFNCNI-5

https://www.homedepot.com/p/3-4-in-x-8-in-x-8-ft-Cedar-Board-0514388/203005148

 

 

 

 

 

39. Clean with pressure/chemical spray - Heavy 11,360.00 SF @ 0,54 = 6,134.40
37. Stain - wood fence/gate 11,360.00 SF @ 0,96 = 16,905.60
This is to Stain the front and back of privacy fence.
38. Replace Fencing Installer - per hour 20.00 HR @ 38.03 = 760.60
Additional lab hours required due to access and conditions of project site.
Debris Removal
DESCRIPTION QTY UNIT PRICE TOTAL
40. Dumpster load - Approx. 40 yards, 7-8 tons of debris 4.00 EA @ 613.46 = 2,453.84
41, R&R Sheathing - OSB - 1/2" 256,00 SF @ 2.05 = 524.80
Plywood is for placement under and around dumpster to protect property,
General Conditions
DESCRIPTION QTY UNIT PRICE TOTAL
42, Taxes, insurance, permits & fees (Bid Item) 1.00 EA @ 1,865.00 = 1,865.00
43. Mortgage Document Processing-can be amended 1.00 EA @ 6,589.35 = 6,589.35
Handling of inspectors, filing paperwork, and extra admin. 3% of job cost.
44, Residential Supervision / Project Management - per hour 40.00 HR @ 64.02 = 2,560.80
45, Replace Temporary toilet - Minimum rental charge 1.00 EA @ 122.92 = 122,92
OFF-SITE CLIMATE CONTROLLED STORAGE
58. Moving van (21'-27') and equipment - per day 4,00 EA @ 195,95 = 783.80
2 Trucks to move to climate controlled storage and 2 trucks to move back after construction is completed.
59, On-Site Inventory, Packing, Boxing, Moving chrg ~ per hour 160.00 HR @ 43.48 = 6,956.86
4 people 20 hours each to pack, box and inventory contents to be moved to climate controiled storage during construction and 4
people for 20 hours to move contents back and unpack when construction is completed,
60. Off-site storage & insur. - climate controlled - per month 3,683.00 SF @ 1,04 = 3,830.32
CLEAN UP
61. Final cleaning - construction - Residential SF @ 0.28 = 0.00
62. Cleaning Technician - per hour 80.00 HR @ 43,48 = 3,478.40
Cleaning of Job site during and after project completion.

TN-1562-WESTOVER-RD1 1/16/2023 Par
Case 1:23-cy-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 350f64 PagelD 40

 

 

LOSS ASSESSMENT
LOSS ASSESSMENT
CONTINUED - General Conditions
DESCRIPTION OTY UNIT PRICE TOTAL
63. Clean with pressure/chemical spray - Very heavy 3,683.00 SF @ 0.85 = 3,130.55

To clean the structure and walkways after construction is complete.

 

 

 

 

 

 

Labor Minimums Applied
DESCRIPTION QTY UNIT PRICE TOTAL
70. Heat, vent, & air cond. labor minimum 1.00 EA @ 203.94 = 203.94
64. Door labor minimum 1.00 EA @ 35.74 = 35.74
65, Window labor minimum 1,00 EA@ 134.17 = 134,17
Grand Total Areas:
0.00 SF Walls 0.00 SF Ceiling 0.00 SF Walls and Ceiling
0.00 SF Floor 0.00 SY Flooring 0.00 LF Floor Perimeter
0.00 SF Long Wall 0.00 SF Short Wall 0.00 LF Ceil. Perimeter
0.00 Floor Area 0,00 Total Area 0,00 Interior Wall Area
651.75 Exterior Wall Area 0.00 Exterior Perimeter of
Walls
3,683.39 Surface Area 36.83 Number of Squares 466.81 Total Perimeter Length
114,50 Total Ridge Length 0.00 Total Hip Length
Coverage Item Total % ACV Total %
Dwelling 127,005.49 83.90% 164,231.87 83.75%
Other Stractures 24,371.34 16.10% 31,872.70 16.25%
Contents 0.00 0,00% 0.00 0.00%
Total 151,376.83 100.00% 196,104.57 100.00%

TN-1562-WESTOVER-RD1 1/16/2023 Page: 6
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 36 of 64 PagelD 41

 

LOSS ASSESSMENT
LOSS ASSESSMENT
Summary for Dwelling

Line Item Total 127,005.49
Material Sales Tax 3,251.73
Subtotal 130,257.22
Overhead 19,538.64
Profit 13,025.79
P Ppty Cleaning Tax 1,410.22
Replacement Cost Value . $164,231.87

Net Claim $164,231.87

 

TN-1562-WESTOVER-RDI 1/16/2023 Page: 7
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 37 of 64 PagelD 42

 

LOSS ASSESSMENT
LOSS ASSESSMENT
Summary for Other Structures

Line Item Total 24,371.34
Material Sales Tax 1,126.82
Subtotal 25,498.16
Overhead 3,824.72
Profit 2,549.82
Replacement Cost Value $31,872.70

Net Claim $31,872.70

 

TN-1562-WESTOVER-RD1 1/16/2023 Page: 8
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 38 of 64 PagelD 43

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 39 of 64 PagelD 44

URE TU

76% wD E * 2 3

Enaeeeriateeer eee

      

SWORN STATEMENT IN PROOF OF LOSS — DWELLING/STRUCTURE

 

STATE OF Tennessee COUNTY OF Madison

 

 

To Shelter General Insurance Company of Columbia, Missouri

At time of loss you insured the property described in Schedule “A”, according to the terms and conditions of policy
number 41-XX-XXXXXXX-8 and all forms, endorsements, transfers and assignments attached to it.

fr
1} TIME AND CAUSE: A loss occurred about the hour of _ 4%, ly o’clock fiew<  M., 3 f ‘ 207 ¢. The cause
of the loss was:
WIND

 

 

 

2 OCCUPANCY: The insured building was occupied at the time of loss for these purposes and no others:

fresthas

 

 

3 OWNERSHIP AND INTEREST: At the time of the loss no one else had any interest in the property except:
HL.

4 CHANGES: Since the policy was issued there have been no assignments, or changes in ownership, use, occupancy,
possession, additions, upgrades, location, or exposure to hazardous conditions of the property insured except:

Aid

 

 

5 ENSURANCE: There was no other policy insuring the property except as listed on Schedule “B”.

6 THE ACTUAL CASH VALUE of the property at the time of the 1088 WaS.:isssesecsssscscceesssvees $ £7¢, 654.25
7 TOTAL RESTORATION COST weccsssccsscssecsssssccussssussssecsossessussssassnssucarapecanectorceevssvesseerssretsegsns g (#2 LER FP

This is the total amount from the last colunin of the Proof of Loss.

8 REPRESENTATIONS: I didn’t intentionally cause the loss, nor did J directly or indirectly cause someone else to
cause the loss, Neither [ nor anyone with my consent or knowledge violated any policy condition. This proof of loss
lists all property damaged or destroyed and I only listed property actually destroyed or damaged by the loss. All the
information J supplied is accurate and complete. I have not tried to deceive Shelter Insurance Companies. | will give
you any other information you request and it will become part of this Sworn Statement in Proof af Loss.

Shelter does not waive any of its rights by giving me this form or helping me fill it owt. All the answers are mine

aud they are true

1, the insured reserve(s) all right(s} } may have under the insurance policy, in sured(s) property. if this Proof of Loss doos not comply with the policy conditions, you ars
hereby instructed to inform us within 15 days from the date of the Froot of Loss or any deficiencies will be considered waived. The said loss did not originate by any act,
design or procurement on my part o nething has been done by or with the privily or my consent, to violate the conditions of the polisy, or render it void; no articles are
mentioned herein or in annexed schedules but such as were destroyed or damaged at the time of said loss: no property saved has in ealed, lIid no attempt ta deceive the

said company, a3 to the extent of said Joss, bas in any munner been made,
C+74.8-C (Policy Edition 03-2004 & 0142007) Page 1
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 40 of 64 PagelD 45

WARNING: Any person whe Luowingly aad with intent to injure, defraud, or deceive an insuvey, mates say clain
for the precerds af au insurance policy coutainlag any melee, incomplete, or mislending information, rommsite 2
criminal oflenss thet ts punishable by feaprisonccent and/or fine. Any insurance company or agent wae lmowingly

provides false, incom pleta, or misiending infortingen Sor the purpose of defrauding a policyholder or claiimunt in a
siaipe settiemen? must lee reported to the State Etvision of Insurance.

 

 

 

 

Pb oa ge ee
Os wt ut tee!
BOE GAY eh!
Sigeutare(s)
; wd ye ish ise £ ae
Inauzedis}
fry oy ot, fo , ogi ~ a
Subscribed and sworn to ‘sefore me this ff say pA Pecegi ly or, ee tlhe .
i 4 fo , i
if idl My b pie Bf os
cenit, VAM AF EL Uae
som oo Bed 5 Notery bie “ee « i .
ey Pe “” oy os ah . fp oa fife eo ‘
2 state lifape Qeplase OT Mislega*p
fo oOo 4 % ¢g
2° YENNESSEE 3
= ° NOTARY ° 3
%, PUBLIC e
% ou va 2
MeiSet tae Mg kh e
"age SON oo} ~~
é Teta pall

C-74.8-C Policy Edition 03-2004 & 6102007} Page 2
LO/TO OO LSD

Z Zz
a’, avd “OS S$ CUNSNI ef rez 4 j ‘DIS S.GSHNSNI
LY. (/ oF" 7 “SUT DUB SISAASUE SL

Je (2) pure ‘spy sjt go Aue SATBAA OU SSOP JSYSUS “YW amedaid at padjay 20 wus Sty) aU GAR aANETUSSeIdal 19}[51g B j1 USAS (9) isodeuTEp 10 SSO} SY] NOE J9}]9yS
SULAT@Oap Jou We | (¢) ‘Avadoid paseumpun Aue Buipeaouos you we | pur ‘ssol sty] Aq Ajo paXo.ysap 10 paBewep Apadosd Suswreyo ur.} (4p) SAdT[Od SUf) SSTETOLA
JeYT “Juasuo? Jo sspaymouy Aw YL SULAUe aUOp sel as[a aue ou puR “BulypAue suop jou saRy | (fC) {ssoy au] 0} SyNqLyUCS 16 esneo O}] TuNpAue auop JOU aAzy [

(Z) Sony sy ssoj sip) noge JeyoYS 01 Surprroid we | uoMeULOyUT AUR Te (1) Feyr TELM | ‘si Stuusis Lq “ONINDIS THOATA ATIAATAVO SIBL AVIA
‘SIUCINSUY JO WOBLAIC] 9J21G 35 OF PULIOdIA 3q ISNOT [WIMIALIJOS VATELS

E OL qUeWIeS Lo AeppoyAayed v Suipuesyap jo ased.ind aq) 10; wore Saipeaysiur 10 ‘azapdmoony ‘aspey sapraoad A[Buimowy oy Juese 20 Auedusos
aateinsm Awy ‘suly 10/puE yaWuoOsLdan Aq aqeysiund si 3¥q3 ssuazjo PEAIUNLD & syIWAWOD ‘HOHULLOsM SaIpesstal 20 ‘apap urosuy “asyey Aue SurEteyAoO3

Aayod aaugansal ae Jo spoasead a9 103 uefa Aue soyeiu “Hains! Ue sAlooap 10 ‘pavazep ‘oinfuy 07 30ayuE AEA pure Apso Moony Oya uosaed Ady PONINNVM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 41 0f 64 PagelD 46

g § STVLOL
EILSLIS ES a
* 4 “2 eye . be
£5607 95/ PEI EL) POD eure tongs “Ue?
f 960 é eo f é & gf Wp AnD ar Gh y? /
(Ox ELUOT) puR
0D sup RG Jo pied poseqoing SSOIPpY ‘VUE! spn{suyz}
yUawas"day | 3805 edey junomy | duping aeq MOL PPHeIGH seus| ademas Supng
9 ‘$ ? ‘t ‘t I

"syaaga paljeoues pus sydessopoyd ‘sidrogai ogy “SS0] set atojeg TUIPTINg oy} oy suleday yus0d1 Sumogs oaey nod yuowinaCp Auz puB SRUINSs Yoes fo Ados {ny ve yen {¢
“atgissod se Ajayajduses se pur A[symese WOT STu) syapdue5 {Z
“SUAL] B JE SANIORAS BVO jst] OA aNEPpY “esewep aso woy APedoud mod yapa1g a

‘suOMsonb AUP UIA [Jeo ASRS] of "ROA 10] JOTSES I SALUT OF WLIOS SIL WM SHOLONYSUE aN20s PapNou! aay ayy “SAL we Wed ¥ osn SsBa]y :suOMORASL]

 

CEOT/LE/EG 8807] JOS1#G OL9CRICQDOOODOH — sequanuneg 6 f fof ased sANPAYS IBYIO
[840A BAYSOr TPOINsSuy gy Of) ? 2S SuLy.EMd

AUN LOMALLS / DNITIAMG ~ SSO'l AO JOOUd oe

* G #2 a ae ao v a vo » *¥ 929° S65 @E

Z

s

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 42 of 64 PagelD 47

SCHEDULE “A” — PROPERTY INSURED

 

 

 

    

 

Coverage or Amount of Description
liem Number Insurance of Property
{4 Ua, Peo, 2 ase Hts
& Ji gfe. az D tha, Sprestrrs
Cc 22a 6.2 LEE

 

 

 

 

 

 

 

Lacation of Property: JS 62 Lh ochyn ko Fé fs»

 

SCHEDULE "B" —- OTHER INSURANCE

 

Policy No. Expires Name of Company

ft i — ___

 

 

 

 

 

 

 

 

 

SCHEDULE “C”
DESCRIPTION OF PERSONAL PROPERTY AND AMOUNT OF LOSS
(TO BE ATTACHED)

WARNING: Any person who knowingly and with intent to injure, defraud, or deceive an insurer, makes any claim
for the proceeds of an insurance policy containing any false, incomplete, or misleading information, commits 4
criminal offense that is punishable by imprisonment and/or fine. Any insurance company or agent who knowingly
provides false, incomplete, or misleading information for the purpose of defranding a policyholder or claimant im a
claim settlement must be reported to the State Division of Insurance,

Signature(s);”

   

 

jasured{s)

C-75.25-C (Policy Edition 01-2007) Page 2
 

 

 

On

AUTHORIZATION

ne

VES T

   

This authorization relates to a loss that occurred on March 3 1, 2022
This authorization or a copy authorizes you to furnish to

Shelter Mutual Insurance Company
Its Employees or Representatives

All information you may have regarding my salary, employment records, finances or installment purchases,
credit or loan records, insurance records, tax records, property records, celi phone records, utility records, and
police, traffic or accident reports, including personal or public records of any law enforcement agency relating
to criminal arrests or convictions. ¥ authorize you to release information that may be a consumer report under
the Fair Credit Reporting Act.

This authorization applies to my past and present employers, financial and lending institutions, retail and
wholesale businesses, credit agencies, law enforcement agencies, taxing agencies, utility companies, courts of
record, fire marshals, insurance companies, contractors, architects, engineers, and administrative agencies.

Shelter Insurance and its representatives have permission to enter the property where the loss occurred to
investigate. They can remove any item from the premises to investigate the loss. For vehicles, they have
permission to move any item, part, or data for their investigation.

Everything removed to investigate and all statements I give to Shelter about the loss are the property of Shelter
and can be used by the company to investigate the loss.

This authorization will be used only to investigate all aspects of the toss and any related matters.

I understand and agree that Shelter doesn’t waive any policy terms by investigating the loss.

WARNING: Any person who knowingly and with intent to injure, defraud, or deceive an insurer,

makes any claim for the proceeds of an insurance policy containing any false, incomplete, or misleading
information, commits a criminal offense that is punishable by imprisonment and/or fine. Any insurance
company or agent who knowingly provides false, incomplete, or misleading information for the purpose
of defrauding a policyholder or claimant in a claim settlement must be reported to the State Division of
Insurance. ,

 

 

 

Light by eh? . ;
Policyhdider’s Signature Date Policyholder’s Signature Date
yi 3 +3 -2a 2H
Social Security Number Social Security Number
(OLG3 3 BES
Driver’s License Number and State Driver’s License Number and State

& Acopy has been received by a policyholder.

C-262.17-C
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 44 of 64 PagelD 49

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 45 of 64 PagelD 50

John Price
Cia meas SHELTER Material Damage Adjuster
pea) ~=6INSURANCE Phone: 615-778-3975

  

wins COMPANIES Fax: 888-742-5671
® Email: JPrice@Shelterlnsurance.com
February 07, 2023

JOSHUA VOWELL

1562 WESTOVER RD

JACKSON, TN 38301-9640

RE: Claim Number: HO0000003 185676
Date of Loss: March 31, 2022
Insured: Joshua Voweil
Dear Joshua Voweil,

We must return the Sworn Statement in Proof of Loss — Dwelling that you sent us, It is being
returned because we need an unaltered document. Enclosed are additional forms, if needed.

Your policy requires a properly completed Sworn Statement in Proof of Loss before we can
evaluate and consider paying this part of your claim.

At this time, we are denying your request for appraisal, as we have not had the oppurtunity to
investigate the additional claims outlined in the proof of loss and the estimate you provided.

If you have any questions, please contact me.

Sincerely,

John Price
Claims Department

ShelterInsurance.com
PO Box 6008 Columbia, MO 65205-6008
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 46 of 64 PagelD 51

 

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 47 of 64 PagelD 52

BREWER KRAUSE
BROOKS & CHASTAIN
PLLC

 

March 28, 2023

VIA_U.S. MAIL AND CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Joshua Vowelil
1562 Westover Road
Jackson, TN 38301

RE: Insured: Joshua Vowell
Claim No: 3185676

Dear Mr. Vowell:

| represent Shelter Mutual Insurance Company ("Shelter’). Shelter has advised me that
you are making a claim for insurance proceeds with respect to a loss occurring at 1562
Westover Road, Jackson, Tennessee. Accordingly, in accordance with the insurance
policy provisions, Shelter has requested | conduct your Examination Under Oath (EUO")
in order to document your claim for insurance proceeds. Please contact me immediately
by phone or email so that we may schedule this on a mutually convenient date and
location.

When you come to the examination, | would appreciate you bringing the following items,
if such are available to you:

4. Copies of any known insurance policies other than the policy issued by Shelter
which may cover damages.

2. Copies of all contracts entered into within the past three (3) years concerning any
repairs, construction, or maintenance on the property.

3. Copies of any documents related to the purchase of the property.

4, Copies of any real estate appraisals concerning the property at or around the time
you purchased it or any refinancing.

5. Any and all photographs in your possession or available to you showing the
damage.
ATTORNEYS AT LAW

545 Mainstream Drive, Suite 101, Nashville, TN 37228
Main: (615) 256-8787 Fax: (615) 256-8985

SH Vowell L Ins 230328
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 48 of 64 PagelD 53

Page 2

6. Any and ail receipts, charge card statements, or other documents or
documentation substantiating any costs incurred by you for any repairs made at
the property resulting from this alleged ioss.

7. Copies of all communications between you and William Griffin.

8. Any written agreements between you and William Griffin, and/or you and any other
person or entity related to this insurance or this claim.

9, A copy of any and ail estimates you have received for repairs to the property for
the claimed loss.

There may be additional items that | will request you furnish after the examination. | would
request that you provide these documents ahead of the examination if at all possible as
it will speed matters along. Shelter could give no further consideration to your claim, or
participate in appraisal, until the examination is completed, all documents requested have
been furnished, and the necessary investigation has been completed.

The scheduling of your EUO, or the taking of any other action by Shelter, should not be
construed as an acknowledgment that coverage exists for the claimed loss, nor should
such be construed as a waiver of any of Shelter’s rights, or the terms or conditions of the
insurance policy, all of which are hereby specifically reserved,

Thank you for your attention to this matter.

Sincerely,

 

E. Jason Ferrell

Attorney at Law

Direct: (615) 630-7716
E-mail: jferrell@bkblaw.com

EJF:ejf
cc: Mr. William Griffin

128 Poplar Street
Gasden, TN 38337-3546

SH Vowali L Ins 230328
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 49 of 64 PagelD 54

 
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 500f64 PagelD 55

FIEIDELBERG & MULLENS, INC

INSURANCE CLAIMS CONSULTING, APPRAISAL, & UMPIRE SERVICES

William Scott Heidelberg, President
PH: 731.225.4187

 

 

Background

Mr, Heidelberg has a long history in residential and commercial general construction. He has
lengthy experience in construction techniques and materials, having been self-employed in the
industry since 1991. Mr, Heidelberg started in the construction industry as a framing employee
for a residential development company in 1989 and continued form his own construction
company in 1991, in which he performed as a sub-contractor and general contractor for twenty
years.

Mr. Heidelberg has been a licensed independent insurance adjuster since 2005 and has adjusted
thousands of claims that range from simple residential to extremely complex commercial and
industrial claims. He has been an advocate for both the insurer as an LA and an advocate for the
insured as a restoration contractor.

Mr. Heidelberg has been trained in applied electricity, heating, ventilating and air conditioning,
as well as plumbing by a major mechanical contractor and held a related position for more than
five years, He is knowledgeable in codes for building and mechanical trades,

Mr. Heidelberg currently performing inspections, documentation, and analysis of peril related
damage, maintenance related damage, building envelope related failures and damage including
roots, cladding, windows, doors and water proofing systems. He is currently accepting
assignments as appraiser for insurers and insureds in simple and complex disputes. He is
currently accepting appointments as umpire in simple and complex appraisals, He is experienced
in premises liability evaluation and surveys pertaining to insurance underwriting, These
inspections encompass residential, commercial, industrial, civic, religious, hospitality, and multi-
family residential building types.

 

Professional Construction Experience

Mid-South Services, Inc, Jackson, Tennessee 2007-2010
® Operating Partner
© Specializing in renovations of residential dwelling and insurance restoration construction,
¢ Wind, Water and Fire Mitigation and Restoration,
® Exterior and Interior,
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 51o0f64 PagelD 56

°

Sales

Jackson Construction, Jackson, Tennessee 1994-2007

® © © © 6 6 @ @

General construction duties including framing and finishing carpentry, tile installation,
plumbing, HVAC and electrical.

New Luxury Dwelling Construction Project Management

Cantilever Construction on Steep Grades

Multi-Family Dwelling Construction

Planning and Design of Developments

Large-Scale and Small-Scale Commercial Restaurant and Bar Renovation

Restaurant and Bar Design and Layout

Commercial Restroom Construction

Commercial Assembly Place Building Codes Specialist

Restoration Specialists, Inc, Jackson, Tennessee 1998 — 2004

@
e

Owner/operator.
Specializing in renovations of residential dwelling and insurance restoration construction,
Wind, Water and Fire Mitigation and Restoration

Mcintosh Development 1989 — 1991

General construction duties including framing and finishing carpentry

S.M. Lawrence Company, Inc Mechanical Contractors 1986-1991

e
e
2

©® ¢ @ @ © 6

Residential HVAC, electrical, and plumbing. Installation of residential HVAC systems.
Commercial HVAC, electrical and plumbing, including zone systems

Commercial design and installation of HVAC systems

Indusirial design, installation and maintenance of HVAC systems and controls systems,
including heavy load industrial chiller systems, variable air volume systems and
pneumatic control systems.

Troubleshooting, electrical and HVAC systems and diagnostics of performance.
Residential, Commercial and Industrial Air Balancing

Troubleshooting, electrical and HVAC systems and diagnostics of performance.
Residential, Commercial and Industrial Air Balancing

Certified by American Standard, Trane and Carrier as an installer and technician.
Memphis State University in Co-op program with SML Inc. (Mechanical Engineering)

 

Professional Insurance Claims Experience

Licensed Independent Insurance Adjuster 2005 — Present

e

Kentucky, Indiana, Arkansas, Oklahoma, Texas, Louisiana, Mississippi, Alabama,
Florida, Georgia, South Carolina, North Carolina, and Connecticut.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 52 0f64 PagelD 57

Eligible in any state.

Thousands of successfully closed claims including residential property, commercial
property, industrial, liability, retail liability, marine, total loss fire and water related, total
loss commercial losses, bio-hazard losses.

Hundreds of successfully closed large loss residential and commercial claims including
shopping centers, churches and industrialAwarehousing buildings. Several claims in
excess of $2,000,000.00 loss.

Participation as an independent insurance adjuster in every major tropical event since
2005 in the US, as well as most wind and hail events during this time. Participation in
wildfire catastrophe as well.

Trainer

 

Professional Alternative Dispute Resolution Experience

Appraiser, Carrier and insured appointed, 2012 — 2021

500+ appointments by insurers, 100+ appointments by insureds.
Umpire, 2015 — 2021

Years of experience successfully settling claims in litigation for insurers.

Years of experience in working on behalf of insurance carriers, with attorneys, public
adjusters, and forensic engineers to find fair and honest settle ents for my clients,

Years of ADR carrier training .
Fair, ethical, and honest professional practices

Policy knowledge

Estimating software expertise.

Trainer

 

Education and Certifications

@¢¢6¢080¢8e8 ¢ @ ©

State Farm Certified

NFIP

USAA Certified

TWIA Certified

TIICRC —FSRT, WRT

Licensed General Contractor (retired)

Memphis State University, Non-traditional student. Mechanical Engineering
HVAC Trade School

Jackson State Community College, General Education.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 53 0f64 PagelD 58

  

2 we com
t -\ The David Group Zachary M. Baker
Claims@TDGroup.us
Mobile (815}988-3337

Curriculum Vitae

My involvement in family owned, small businesses began at a young age. | began working in the
building trades at the age of fifteen. | became involved in large scale, historic renovations at the age of
twenty as a “working” Jobsite foreman. From age twenty through twenty-five, | became proficient at
physically performing all of the building trades. This eventually led to a partnership in a fledgling real
estate development firm. | became involved with the insurance industry seemingly by accident. i was
assisting a storm restoration company on an insurance adjustment where in which Donan Engineering
was involved, Soon after | spent the following two years performing ladder assists/consulting for Donan
Engineering (while simultaneously acting as a Field Supervisor for a storm restoration company}. This
began what has become my entire career focus. While ! still am engaged in real estate investments, my
primary focus over the last (12) years has overwhelmingly been in the insurance industry. | have been
fortunate enough to study under some of this industry’s brightest minds (on both sides of the proverbial
fence). The experience | have gained from working under RRCs, RROs, PEs, Attorneys and private
business owners is what has allowed me to become proficient at setiling large losses. There is still much
that | have to learn, but | have been involved in hundreds of large commercial projects.

lam licensed as a Public Adjuster, but | do not utilize my licensing in the majority of cases | am involved
in. | consider myself to be an extremely fair and reasonable individual, Most of my professional peers
(on both sides) would tell you that ! am both respectful and fair. Since 2013, the overwhelming majority
of the claims | have adjusted, were settled without the aid of the Courts. | try my best to always
maintain an unmatched work ethic, a tremendous sense of fair play, and am always willing to widen my
professional knowledge from those who are more experienced. Above all else, | believe that if opposing
parties meet on the common ground of good faith, any disagreement can be reconciled.

Currently, approximately 50% of my workload is processed via Appraisal. | find the “Alternative Dispute
Resolution” process to be a more proficient way to handle losses because both interested parties are
removed from the process. Additionally, | appear on the “Umpire List” of a number Independent
Adjusters. | thoroughly support every position in each Appraisal and Adjustment. Even as someone who
has spent most of my career representing the consumer, | believe that unnecessarily high
estimates/awards lead to damaging the entire system (thus the consumer will inevitably suffer those
consequences).
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 54 o0f64 PagelD 59

Education

SS

2002-2003 Lincoln College
2003-2004 College of Dupage

Professional Experience
1998-2000 —RJB Design

-General laborer

2000-2005 Gaynors Inc/Mr. Scotts LLC

-Assistant Management/Jack of all trades for different family businesses. Work
responsibilities consisted of labor, restaurant/bar management, customer relations,
small scale renovations of rental properties.

2005-2007 JMZ/IEMB Properties

-Job site floater on all active builds. Regularly performed roofing, carpentry, electrical,
plumbing and demolition work.

-Rental Property Site Technician. | serviced more than 200 rental! units in historic
buildings that had not yet been renovated.

2007-2014 Urban Equity Properties

~Partner/Site Foreman. We focused on large scale, complete renovations of historic
preservation properties, while also converting them to modern mixed-use
developments. UEP is still a commanding presence in the Real Estate development
markets of the Midwest.

2009-2011 Rockton City Council

-Councilman for the City of Rockton, IL

2010-2012 Donan Engineering
~Sub-contracted Consultant/Ladder Assist under Chris Hayes SE of Donan Engineering

2010-2013 Hytek Exteriors/GC

-Field Supervisor. Eventually became the Sales Manager and was the top grossing
commercial salesman companywide from 2011-2013.

2013-Current Spartan Public Adjustments LLC

~Owner/Primary Adjuster. Spartan PA is a Public Adjusting firm with a focus on the
complex (and often large) insurance claims that other firms would release (or that
would otherwise result in a lengthy legal battle). www.SpartanPA.com
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 55o0f64 PagelD 60

2014-Current The Heracles Group LLC

~Owner. The Heracles Group is a Real Estate development and management company
with a focus on affordable, historic housing, with tenant service that is unmatched,

2017-Current The David Group LLC

-Ciaims Consultant. The David Group focuses primarily on claims consulting and ail
forms of alternative dispute resolution within the insurance restoration industry. We
also offer our clients training in ethics, sales and logistical services within the industry.
www, TDGroup.us

Additional Points of Recognition
“lam a P.L.A.N. Certified Appraiser and Umpire
- | have been invoived in hundreds of commercial projects to date.
- | have been involved in projects/claims with a total cost in excess of 12M.

-I take a “hands on” approach to every file. | conduct my own destructive testing and produce detailed
property analysis reports (and estimates) for many of my customers.

- | have upset people at times with my practical approach to public adjusting. There have been several
occasions where | have talked commercial clients out of filing insurance claims when they clearly have
been misguided by an outside influence. | believe that this industry has been become neediessly
adversarial (on both sides), Unfortunately, it is the consumer who often suffers as a result.

~ | have completed both the level 1 and level 2 Xactimate training. | am proficient at writing both
residential and commercial property adjustment/Appraisal estimates.

~ [have been a part of as many as (60) Appraisals in a calendar year.

~ | have been certified in Lead removal in the State of IHinois

- thave been certified in Ashestos removal in the State of Illinois

- | have been licensed to practice as a Public Adjuster in (12) states.

- | have been licensed {and am proficient) in nearly all of the building trades.

- 1 have completed to date (3) Certified Commercial Roofing Manufacturer Courses.

-I have worked directly with (3) different State Historic Preservation boards on large projects.

- Spartan Public Adjustments LLC/ Zachary M Baker to date has had zero disciplinary action taken
against it from any of the Department of insurances/Attorney General Offices in any of the states where
we have been licensed,

- fam technologically “savvy”. | can efficiently utilize all Windows related programs, | have also built
several desktop computers.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 56 of 64 PagelD 61

Professional References
ofotessionai Rererences

~Attorney Raymond J Melton has been Successfully representing clients in and out of the courtroom for more than
20 years; he has tried more than 60 cases to jury verdict. Ray handles matters involving civil litigation including real
estate, corporate litigation, real estate transactlons and defends insurance carriers in. He regularly handles large,
complex, multi-million-doliar transactions on behalf of his clients. Attorney Melton can attest to my ability, moral
compass, and depth of industry related knowledge. We have work opposite of each other and now regularly work
together on large loss cases, Attorney Melton fs a Partner at the Chicago based Law Firm of Smith Amundsen.
Point of Contact: Mr. Ray Melton (Partner) (312) 350-8740

-Urban Equity Properties is a large real estate development firm that Spartan PA has done work for a
number of times over the years, We have Successfully negotiated several, millions of dollars’ worth of
claims for them.

Point of Contact: Mr. Justin Fern (Founding Principal) {815)505-5178

~Pivotal Recruiting is one of the largest recruiting service providers for the storm restoration industry. We have
worked ciosely with some of the same clients for years. The owner has referred me to several ctlents of his and has
witnessed the proficiency of my work at both firms.

Point of Contact: Matthew Snow {Owner) (773) 991-9975

~Hytek General Contracting is a commercial and residential roofing firm with offices in Chicago, Detroit, and
Rockford, IL. We have successfully negotiated Insurance settlements for their customers (and thelr affiliated
companies) consistently for the last few years. They continue to be a valued customer of ours.

Point of Contact: Mr. Joshua Wilsen {630)776-3945

-RAC Adjustments, Inc. provides a comprehensive range of services including commercial and residential property
adjusting, workers’ compensation, vehicle appraising, catastrophe adjusting, special investigations, telephone
adjusting, and third-party administration. | have been on the opposing end of adjustments opposite of their owner
on several claims, He will attest to my character and ability as a Public Adjuster.

Point of Contact: Mr. Darrel! S. Roum {Owner) (815}967-3201

-TNT Property Group is a large real estate development and management firm. Over the course of (5)
years, we successfully obtained funding for complete replacements on every property they both owned
and managed. Many of their developments are large multifamily properties (200+ unit properties) and
large-scale commercial properties. As a result of our long standing, successful relationship, Mr. Tarandy
had our firm do extensive work for his extended professional network.

Point of Contact: Mr, Mike Tarandy {Majority Owner) (773)671-3758

-McDermaid Roofing & Insulating Co.is the oldest commercial/union roofer in the City of Rockford, IL {and one of
the largest in the State of lilinois). | have helped several of thelr large clients with clams related issues and have
had a relationship with the company for more than (10) years.

Point of Contact: Paul Naretta (Owner) (815) 222-0074
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 57 of 64 PagelD 62

-Kaney Aerospace is both an aerospace corporation/contractor and a property holdings firm that is still
currenily a customer of ours, They have several Industrial and Commercial properties (many of them in
high security settings as a result of the airport and their dealings as an aerospace manufacturer). | have
secured to date over (2) million in Insurance settlements for them (and have additionai

settlements of potentially 1.2M pending as a resuit of storms that occurred in 2020),

Point of Contact: Mr. Greg Steele (Property Agent/Manager) (815)978-5369

-Windsor West Townhomes is a large condominium/townhome davelopment of more than (90) 3-4
bedroom tawnhomes. They initially received compensation of approximately $22k from their insurance
Carrier after a large storm. We were retained and secured an (approximate) additional $950k for thern.
Point of Contact: ir. Jon Pantano (Former President) (630)639-6592

-Meiborg Brothers Inc is a trucking and logistics firm headquartered in the Midwest. They area
current customer of ours, and | have successfully negotiated large property ioss settlements for them
several times in the past as well.

Paint of Contact: Mr. Zach Meiborg (President/CEO) (779)210-3867

-TNG Contractors INC is a Commercial and Industrial builder headquartered in Nashville, TN. They have
built many of the new hotels and gas stations in the Middle Tennessee area. We continue to work with
them and alt of their affiliated companies (and customers) on a regular basis. We have also negotiated
large property settlements on Commercial properties owned by the Principal.

Point of Contact: Mr. Akbar Arab (Owner) (615)394-4196

~Summit Exteriors |s a residential/commercial roofing company based in Illinois. Their owner Is a former
Independent Adjuster and Xactimate educator. | have resolved several iarge loss files with him over the past (10}
years.

Point of Contact: Joshua Jacobson (Owner) (815) 847-8850

*Further references are available upon request. Some of our other targe clients are listed below:

VishioForry PLLC, Safe Harbor Public Adjusters, NRG Restore, Attorney Scott Green, Kevin Patel, Blackhawk Motors,
Shanahowe Transportation, Stenstrom Companies Ltd, Reg Ellen Machine Tool Corp, Victory Sports Compiex,
Ayushi inc, First Baptist Church of Missouri, Abidon Inc Properties, McClenny, Moseley & Associates, Dr. Car!
Patrnchak and Associates, Comprehensive Community Solutions, Villa Vista Condominiums, Dowling Investments
North LLC, Fratelll Investments LLC, Gaynor’s Restaurants Group, The Hard Corporation Inc, Howard Johnson
Hotels, Kramer Photographers, Golden Markets LLC, TriView Property Management LLC, Victory Church.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 58 0f64 PagelD 63

MARY JO O'NEAL, Sr. GA Adjuster
P.L.A.N. Certified Appraiser & Umpire, NFIP, CEA

2226 General Raines Dr., Murfreesboro, TN 37129
615-849-6400
Maryjo6400@aol.com

SUMMARY OF QUALIFICATIONS

Certified Appraiser with P_L.A.N. ( Property Loss Appraisal Network)
Citizens of Florida— Commercial GA Adjuster

19 yrs experience Independent Catastrophe Adjuster for various insurance companies with strengths in
knowledge of various policies, stale guidelines and policy limits.

31 yrs experience In the construction industry with outstanding customer service skills and a high level of ethics
and professionatism.

42 yrs experience In Residential and Commercial Reai Estate sates with extensive client communication and
service skills, Nashville Metropolitan Area

ae weastic team player/bullder, outstanding communicator and negotiator, one-on-one and groups, written
and oral.

Creative problem solving: maximizing resources and time management.

Computer skills in Xactimate, Simsal and MS Office products, including paperless file transfer protocols &
Wireless communication systems,

State adjuster licenses: Florida, Texas, Louisiana & Georgia

California Earthquake Accreditation (CEA) Certified,

National Flood insurance Program (NFIP) Certified large commercial, dwelling, mobile home, small commercial
Nationat incident Management Systems (NIMS) and Incident Command System (!CS} training.

E-RAILSAFE approved {certification to drive In rail yards)

PROFESSIONAL EXPERIENCE

4yrs experience as Senior Adjuster & Appraiser representing various carriers:
Allstate, Encompass, and Esurance.

Court appointed and/or selected umpire on numerous commercial & residential
disputed claims throughtout Tennessee and surrounding states with awards in
excess of $1.4 million. invoked as umpire Position to settle disputed claims on new
auto dealerships, large chain restaurants, multi-unit condominium complexes,
large building products retail center, large furniture retail stores, large city owned
office & public works buildings, garage maintenance facilities and fire stations.
Flood catastrophe adjuster, certified since 2007 with 8 yrs flood adjusting experience in the field,

Adjusted numerous claims in excess of $1,000,000.00 in various states Including TN, TX, LA, GA & MS

Flood certified for Large commercial, dwelling, mobile home and smali commercial claims,

Evaluated damages, completed estimates, negotiated with policyholders or thelr contractors and settled claims
in @ professional manor with minimum or no supervision or file reflection.

Managed multiple claim assignments, accompilshed 1st contacts and set reserves within required time
Consistently maintained priority of customer service skills along with time management in a highly pressurized,
multi-tasking environment under emergency conditions,

Experience Sinkhole claims settling for Citizens of FL.

Completed Citizens of FL Large Commercial Desk Adjuster training as a
Commercial GA adjuster.

Experienced in adjusting commercial liability claims involving in-depth investigation of large

commercial claims to establish cause or fault as well as bodily injury claims.

Catastrophic Insurance Adjuster for Hurricanes Chariie, Francis, Jean, Katrina, Wilma, Gustov, Ike. Irene,
Sandy, Harvey, irma, Michael etc., and Tropical Storm Dolly.

Participated in settling claim assignments as an appraiser as well as selected as an umpire on various claims.
Catastrophic Insurance Adjuster for Hurricanes, Hall, and Tornado events in TX, IN, KY, TN, MN, MO, FL, K8,
NG, VA, Nu, LA, IA MS and Flood events in TN, MS, LA, TX, FL and iL.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 59 o0f64 PagelD 64

Llabllity Claims Adjuster (Personal injury, Commercial, Residential & Automotive)
CONSTRUCTION & REAL ESTATE

= Shared responsibility in floor plan selections and design with architectural changes, to setting and maintaining

the construction budgets, overseeing the construction process and accomplishing the goai of higher profitability
for the contracts,

® Assisted contractors with the overseeing of all phases of the building process while developing a working
knowledge of residential construction,

= Managed multiple listings for sellers and bullders/eontractors while assisting multiple buyers in the selection,
negotiation, loan quatification and closing process of ail real estate transactions.

5 Accomplished multi-million dollar sales awards several years in arow. Customer service as the main focus,
with high ethical standards, professionalism and self-motivation attributing key factors.

HISTORY

2003 ~ Present Adjusted for various independent adjusting companies since 2003 including, but not limited
to, Worley Co., EA Renfroe, Eberls, Pacesetter Ciaims, Team One, Bradley Stinson &
Assoc., NCA, Administrative Strategies, Colonial Claims, RIMW & CIS Specialty Claims,

1976 - 2018

Key Concepts Real Estate 2017 - Present
Bob Parks Realty, Murfreesboro, TN 2013 - 2017
Encore Real Estate Assoc. 2007 - 2010
Prudential - Rowland Reai Estate 1999 - 2007

Bob Parks Realty, Murfreesboro, TN 1997 - 1999
Crye-Leike Realty, Murfreesboro, TN 1995 - 1997

Prudential Real Estate Assoc. 1987 ~ 1995
Mayes Real Estate 1979 -~ 19087
General Contractor 1976 ~ 1989
EDUCATION & TRAINING

Certificate of Completion — Citizens of Florida Commercial DA Training Program {as a Commercial GA Adjuster)
Certificate, Flood Certifled, (NFIP) Large Commercial, Dwelling, Mobil Home & Smal! Commercial
Certificate, Property Damage Course, Epps Insurance Training Program, Dallas, TX

Certificate, Earthquake Accreditation

Donan Engineering Roof Systems Course

Cerilficate, Insurance License for the State of Tennessee

Certificate, Auto Adjusting - Allstate

Cartification of Completion - Adjusting Auto Flood & Hail Losses training

Certificate of Completion — Allstate Auto Adjusting Certification

Business Education, Middle Tennessee State University

Real Estate Fundamentals & Law, University of Tennessee

ADJUSTING LICENSE & CERTIFICATION

NFIP Certified FCON#05080114 (including LG Commercia!} Louislana State Adjusters License #522698
CEA California Earthquake Certified Ailstate Auto Adjusting Certification

Florida state adjusters License #£141507 Tennessee Real Estate Affiliate Broker License
Texas state adjusters License #126363 Tennessee Insurance License

Georgia state adjusters License #3395254

SPECIFIC INSURANCE ADJUSTING EXPERIENCE &/or CERTIFICATIONS

State Farm . Nationwide (Wind, Hall & Flood)

USAA Citizens Of Florida

Allstate (Property & Auto} Tower Hill (wind & flood) (dwelling & commercial)
Citizens of Florida (GA Commercial & Property) Shelter

St Paul Travelers Safeco

USF&G Farm Bureau

QBE & QBE ist American Family

Liberty Mutual — LMAC (Core Adj.) Guard Insurance (Commercial property loss claims)
NFIP Direct & various flood carriers & WYO co.’s Farmer's (Fire Ins. Exchange) Flood

Consumers Insurance Co. & Centinental Western Ins. Co. (commercial liability and auto liability claims)
ase 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 60 of 64 PagelD 65

 

DAVID W. HILSDON, P.E.
7975 SODERLUND DRIVE
MILLINGTON, TN 38053

CONSULTING ENGINEER
(901) 485-1071 Vox & Txt
davidwhilsdonpe@gmail.com

SCHEDULE
OF
PROFESSIONAL SERVICE FEES
AS
EXPERT WITNESS

Effective Date: July 3, 2022

 

Re: Professional Engineer Expert Forensic Witness - retainer, case investigation,
evaluation, preparation, deposition, mediation, arbitration & court
appearance/testimony, travel, expenses, etc.

Non-Refundable Initial Commencement Retainer Fees for case file creation

preparation, correspondence, review & initial research:

Fixed Fee Non-Refundable Litigation Commencement Retainer of $1,250.00.

Fees for case preparation. corres ondence, review, research and travel

Beyond initial non-refundable Commencement Retainer:

Time (per tenth of hour

STAFF:

Principal Engineer (P.E.) $225/hour*
Senior Engineer (P.E.) $210/hour*
Junior Engineer (P.E.) $180/hour*
Engineer Intern (E.I.} $165/hour*
Forensic Technician $100/hour*
Administration $ 65/hour*

*Minimum Trip Fee / Staff member $1,000/Day

 

OUTSOURCED SERVICES:
Technical Consultants Cost plus 15%
Third Party Services Cost plus 15%

Page'l of 2
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 61 0f64 PagelD 66

Fees for Depositions & Court Appearances:

1/2 Day - (8:00 until 12:00 Noon or fraction thereof) @ $1,000 minimum per 1/2 Day.
Plus Expenses.

Full Day - (8:00 A.M. past Noon until 5:00 P.M. or fraction thereof) @ $1,450 minimum
per Full Day, continuing after 5:00 PM at $225 per hour rate.
Plus Expenses.

- Expenses;
Travel - @ $0.65/Mile (Auto)
. Travel —@ cost plus 25% (Airline, Public)
Tolls & Parking - @ cost plus 25%
. Room & Meals - @ cost plus 25%
. Postage & Envelope - @ cost plus 25%
. Scan Docs to file (pdf format) & Email:
24” x 36” @ $10.00/sheet;
8.5”x 11” @ $0.50/sheet
€, Reproduction, copies, prints:
24°x 36” @ $15.00/sheet;
8.5°x11” B&W @$0.25/sheet
8.5” x 11” Color @ $0.75/sheet
f, Vehicle, Equipment, tool rental - @ cost plus 25%
g. Outsourced Services — cost plus 15%

+S

2ore

eR BND fick

Page 2 of 2
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 62 of 64 PagelD 67

Andrew J. Fraraccio
570 New Waverly Place, Suite 220, Cary, NC 27518
Tel: 919.345.0548 / Fax: 866.369.1755 / email; andyf@intrustclaims.com

 

Property Loss Consulting / Appraiser / Umpire / Loss of Business Income

Profile:

Education:

Licenses/Certifications:

Experience:

Mr. Fraraccio carries 28 years of experience as independent insurance appraiser, umpire, adjuster, and
property oss/business interruption consultant. Mr. Fraraccio also provides a diverse range of construction-
related services with expertise in restoration and reconstruction of existing custom-built real property, and
personal property, Mr. Fraraccio has served ag an expert appraiser and umpire in hundreds of loss
disputes nationally on behalf of individuals, insurers, and business-cwners. He is responsible for
Calculating Loss of Business Income, Project Management, Cost-Estimating, Scope Development,
Damage Evaluations, Building Code-Compliance, Appraisal-Umpire Appointment, and Litigation
Expertise. Among numerous selected achievements, Mr. Fraraccio served as umpire and appraiser for
hundreds of large losses nationally, for commercial and residential structures, and contents, In addition,
he settled several thousand business interruption losses and disputes throughout the United States,
spanning 3 decades.

Additional Selected Achievements
Mr. Fraraccio developed and presented lectures and educational seminars to insurance carriers, law firms,
and associations regarding property loss dispute resolution, appraisal, and arbitration. These educational
seminars involve extensive research including state statutes and case laws, nationally. He is a nationally-
recognized expert in litigated insurance claim disputes. He was also retained as an expert to settle scores
of flood litigation claims for the NFIP and Write-Your-Own (WYO) insurance carriers.

Mr, Fraraccio has set industry standards in estimating software through research and Development of
Digital Documentation Systems; also known as MS/B estimating system, He also set industry standards in
the formatting and language used in captioned reports throughout the industry. He founded and principally
operates Intrust Claim Servicing, Inc., a nationally-recognized dispute resolution and loss consulting firm.

Electronics Technology Degree: (3.84/4.0 G.P.A.): United Electronics Institute, Tampa, FL (1986)
University of South Florida: Business Management Courses (1986-1990)

St. Petersburg Jr. College: Business Management Courses (1991-1992)

Manatee Jr, College: Business Management Courses, Technical-Writing, Physics 1-3, CAD and
other engineering-related courses (1982-1983, 1988-1990)

Mr. Fraraccio’s education and career experience also include Insurance Law, Electronic
Engineering, and Research and Development.

Umpire Certification — FL WIND Network

Appraiser Certification — FL WIND Network

Independent Adjuster License, State of North Carolina (License #NPN 129023 7)
Independent Adjuster License, State of Florida

independent Adjuster License, State of Texas

Independent Adjuster License, State of Alabama

Independent Adjuster License, State of Georgia

Independent Adjuster License, State of Louisana

Independent Adjuster License, State of Mississippi

HCRC WRT Certification / ICRC Fire and Smoke Restoration Certification

State Farm Flood Certification .
Former Member of National Association of Independent Insurance Adjusters (NAITIA)
FEMA (DHS) Contractor Certification (Badge Number 7608306526)

National Flood Insurance Program (NFIP) Large Commercial Certification (FCN 060 10133)

3/2001 to Present: Intrust Claim Servicing, Inc. (ICS, Inc.)

CEO/Ompire/Appraiser

Responsible for handling everyday operations and management of this national ioss consulting, independent
appraisal and umpire services firm. These responsibilities include consulting and settling multi-million dollar
large loss disputes, hiring appraisers and umpires, training of management, field adjusters, case managers,
software implementation and website management. Estimation for commercial and residential property
damages resuitant from these perils: water, fire/smoke, wind, mold, flood, vandalism, collapse, earth quake,
and construction defects.
Case 1:23-cv-01088-JDB-jay Document 1-2 Filed 05/15/23 Page 63 of 64 PagelD 68

10/2011 - Present: Advanced Adjusting, LTD.
General Adjuster/Consultant

Handled hundreds of large-loss flood claims for the NFIP and WYO carriers. Also, led the litigation team,
handling and managing dozens of flood claims in litigation. Provided detailed protocols for, and settled many
complex large losses for the company. Produced detailed scopes, exhibited estimating skills, produced
presentations in negotiations with Attorneys and Public Adjusters for successful ioss settlements.

1/2007 to 12/2019: Insurance Claims Group, Inc,
Consultant: Appraiser/Umpire
Provided detailed protocols for settling many large losses for the company. Also settled
many large losses in the capacity of appraiser, Detailed scope, estimating skills, presentation and

negotiation to appraisers and appraisal-umpires in successful loss settlements. Provided these
services to insurance carriers, individuals, and business-owners.

5/2010 -. 3/2011: Worley Catastrophe
Consultant: Large Loss/Business Interruption

BP Oil Spill: Advised and handled tens of thousands of large loss commercial Business
Interruption claims throughout the Gulf of Mexico states (Texas, Louisiana, Mississippi,
Alabama and Florida), Also supervised ciaims examiners and managed as liaison for
several Florida panhandle offices.

5/1993 to 3/2001: Self-employed Independent Insurance Adjuster

During this 9 year period, Mr. Fraraccio worked as a daily claims adjuster and a catastrophe adjuster
with an impeccable record for the following companies:

Claim Adjustment Specialists, Inc., Global Claim Services, Inc., Catastrophe Specialists,
Inc., B & H Claims Service, IMS Catastrophe Adjusters, Pilot Catastrophe Services,
Inc., National Catastrophe Adjusters, Inc. (NCA), T.M. Mayfield & Co., Catastrophe
Insurance Adjusters, Reid, Jones, McRorie & Williams, United Gates and Pylant, NEC
Claims, Inc., Equity Claims, Inc., Resource Services, Inc., Worley Catastrophe
Response, Insurance Claims Group, Ine.

Mr. Fraraccio’s professional experience with the above-listed companies covers claims concerning
liability, appraisal losses, flood, hurricane, wind/hail, earthquake, freeze, and all other perils
common throughout the continental United States.

Estimating Software: Xactimate / National Cost Estimator / Marshall & Swift / Simsol / Blue Book Intemational

Benevolence: Mr. Fraraccio consistently volunteers his time and donates financial resources both
locally and globally through various missions, helping the less fortunate improve their
quality of life.
Joseph T Harmon

327 Meadow Branch Rd,
Bean Station TN. 37708
(228)-265-1910

Joseph@harmonclaimsservices.com
Website www.Hannonclei msservices.com

Heilo,

Expert Construction Consultations Xactimate Scope Review Xactimate Data Entry

Insurance Appraiser/Umpire OSHA Safety Plans

Xactimate Estimate Writing

Contents Inventory

Matterport 3D Camera for virtual walkthroughs or contents inventory

Coming soon Public Adjusting Insurance Claims Review

Licenses and Training

1.MS. General Contractor License-
2.EPA Section 608 Certified-
3.0SHA 30-

4,Construction Forklift Operator-
5.CIC Tower Crane Operator-
6.Rigging and Signaling Certification-

Issued June- 15-2006
Issued October-21-2016
Issued Febuary-14-2019
Issued April-1-2019
Issued May-1-2019
Issued November-12-2019

7.Fall protection Certification-
8.Public Adjuster Boot Camp-
9.P.L.A.N Appraiser Certified-
10.David Skipton’s PA. Class-

Related Experiences ~My family

Issued November- 12-2019
Issued July-10-2020
Issued June-30-2020
Attended July-20-2020

has been in the construction industry for as long as I can remember. Industries

included drywall, painting, custom cabinets, HVAC, general contractor, My skillset is based on the construction

industry.

2002-1 was a trim carpenter for Westmoreland Contract
in Carolina trace Sandford NC. This was my afterscho

2004-[ worked for Hughes construction
exterior wall and blocking layout, I assi
Cherokee NC, 2-5 story tower Hilton Garden Inn Duck

Greensboro Ne.

2006-Moved to Mississippi and got my General contractors License.
insurance claims, REO properties, custom remodels, new builds, spr.
government work for the VA Hospital, and Government work for the FAA fo

Alabama, and Louisiana.

Mid-2018-Moved to Tennessee and I decided to take a
INC. A prefabbed structural wall company out of garn
and 2-4 story buildings In Rye, NY, 8

sted in the constructi

-story ACH Marriott in Greenville SC, 3
13-story dorm in Penn State College. And started a7 story in Detroit MI ail b
currently training and expanding my area of expertise to take advantage of a

ay foam,

ing. I did all types of custom woodwork in high-end homes
ol/summer job until I graduated in 2004

(Metal Framing Company). My duties included foremen and interior and
on of Cherokee Casino hotel 16 story addition in
head NC, and a 7-story dorm at Greensboro University in

I specialized in handyman small jobs,
government work for navy base,
r local airports. I covered Mississippi,

job as a superintendent and tower crane operator for RGC

er NC, I have supervised the building of 2-3 story buildings
~5 story dorms in VA Tech College, a
efore the Covid 19 Pandemic. 1 am
new opportunity with insurance claims.

 
